          Case 15-40763-JDP               Doc 1000       Filed 08/11/21   Entered 08/11/21 10:21:18            Desc
                                                           Page 1 of 52



                                           UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF IDAHO


       In re: ISOM, RALPH DEAN                                 §    Case No. 15-40763
              I & S FARMS CONSOLIDATED WITH IND                §
              BK                                               §
                                                               §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




              R. Sam Hopkins, chapter 7 trustee, submits this Final Account, Certification that the Estate has been
      Fully Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $17,970,718.39                          Assets Exempt:      $237,509.46
      (without deducting any secured claims)

      Total Distributions to Claimants:    $876,906.67             Claims Discharged
                                                                   Without Payment:      $1,704,313.89


      Total Expenses of Administration:     $458,998.33




                3) Total gross receipts of $1,335,905.00 (see Exhibit 1), minus funds paid to the debtor and third
      parties of $0.00 (see Exhibit 2), yielded net receipts of $1,335,905.00 from the liquidation of the property of the
      estate, which was distributed as follows:




UST Form 101-7-TDR ( 10 /1/2010)
          Case 15-40763-JDP            Doc 1000      Filed 08/11/21       Entered 08/11/21 10:21:18           Desc
                                                       Page 2 of 52



                                               CLAIMS               CLAIMS                CLAIMS               CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                PAID


   SECURED CLAIMS (from
   Exhibit 3)                                  $6,994,227.99       $30,167,219.36       $30,188,871.53          $211,147.04
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00          $350,252.27          $347,853.92          $347,853.92


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00          $119,102.26          $111,144.41          $111,144.41

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                              $151,819.88           $36,840.67           $36,840.67           $36,840.67

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                              $590,154.79        $2,319,898.53        $2,249,583.39          $628,918.96


   TOTAL DISBURSEMENTS                         $7,736,202.66       $32,993,313.09       $32,934,293.92         $1,335,905.00




              4) This case was originally filed under chapter 7 on 07/31/2015, and it was converted to chapter 7 on
      11/14/2017. The case was pending for 45 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        08/04/2021                        By: /s/ R. Sam Hopkins
                                                                         Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-7-TDR ( 10 /1/2010)
          Case 15-40763-JDP        Doc 1000    Filed 08/11/21      Entered 08/11/21 10:21:18   Desc
                                                 Page 3 of 52




                                                 EXHIBITS TO
                                               FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                     UNIFORM                    $ AMOUNT
   DESCRIPTION
                                                                    TRAN. CODE1                 RECEIVED

 ONE & ONE THIRD (1.34) ACRES, MORE OR LESS, TOGETHER, WITH A         1110-000                        $6,000.00
 RESIDENCE LOCATED THEREON AT 159 NORTH 55TH JUDGMENT
 LIENS
 (2) GENERATORS; (2) AIR COMPRESSORS; (3) GRINDERS; (3) WELDERS;      1129-000                        $4,510.00
 (2) AUGERS
 (800) GALS OF OFF-ROAD DIESEL FUEL                                   1129-000                         $330.00

 1980 TIMP HORSE TRAILER VIN 50077 - I&S FARMS PARTNERSHIP            1129-000                        $2,750.00

 2002 SUPREME 900T TMR FEED MIXER 90333- I&S FARMS                    1129-000                        $7,875.00

 2008 CIRD CATTLE TRAILER VIN 1328 - I&S FARMS PARTNERSHIP            1129-000                        $6,825.00

 FARM EQUIPMENT AND MACHINES - I&S FARMS PARTNERSHIP                  1129-000                         $302.50

 FARMING EQUIPMENT & IMPLEMENTS: SEE ATTACHED EQUIPMENT               1129-000                    $646,197.00
 LIST
 HOUSEHOLD GOODS AND FURNISHINGS                                      1129-000                        $3,045.00

 SCRAP METAL                                                          1129-000                         $412.50

 SEE ATTACHED VEHICLE LIST                                            1129-000                    $197,407.50

 2017 STATE REFUNDS                                                   1224-000                         $200.00

 1936 JD TRACTOR SN 5939                                              1229-000                         $440.00

 1946 JD TRACTOR SN 3658                                              1229-000                         $770.00

 1958 FRUEHAUF DOLLY TRLR CONVERTER SN 5068                           1229-000                         $385.00

 1965 FORD MUSTANG COUPE RED                                          1229-000                        $3,360.00

 1971 CHEVY MALIBU VIN 7459                                           1229-000                        $5,040.00

 1977 DODGE W30                                                       1229-000                        $1,100.00

 1977 FORD F250 VIN 3174                                              1229-000                        $1,760.00

 1979 GMC GRAIN TRUCK VIN 8988                                        1229-000                        $1,155.00

 1986 FORD 8000 W/ FARM BED SN 2167                                   1229-000                        $6,825.00

 1990 FARMBED MFE EAGLE BRIDGE TRLR VIN 1179                          1229-000                        $4,830.00

 1991 JD 310 D TURBO BACKHOE SN 6608                                  1229-000                     $17,587.50

 1991 WESTERN TRAILER FLATBED 45X8 VIN ENDING 2245                    1229-000                        $3,360.00

 1995 LUFKIN DROP DECK TRLR SN 7683                                   1229-000                        $6,825.00

 2006 GMC SIERRA 1500 VIN 3800                                        1229-000                        $2,200.00


UST Form 101-7-TDR ( 10 /1/2010)
             Case 15-40763-JDP                 Doc 1000          Filed 08/11/21           Entered 08/11/21 10:21:18   Desc
                                                                   Page 4 of 52



 2008 GMC SIERRA 1500 VIN 0885                                                                  1229-000                     $4,200.00

 325 RAILROAD TIES                                                                              1229-000                     $3,602.50

 66 FORD MUSTANG COUP BLUE                                                                      1229-000                     $3,675.00

 79 JD 950 TRACTOR SN 4788                                                                      1229-000                     $3,675.00

 AN 11 USC 548 CLAIM FOR FRAUDULANT CONVEYANCE                                                  1229-000                $300,000.00

 ARTIC CAT EL TIGRE SN 6376                                                                     1229-000                      $467.50

 CENTER PIVOT, SPRINKLER SYSTEM, PIPE LINE, APPROX 1300 FT,                                     1229-000                 $28,875.00
 CONTROL PANEL, ETC.
 FLAT BED TRLR W/ RAMPS, DOVETAIL,TANDEM AXLE                                                   1229-000                     $2,730.00

 JD 16FT FINISHING DISC SN 1076                                                                 1229-000                     $1,430.00

 JD WORSKITE PRO TR36 TRENCHER                                                                  1229-000                     $2,730.00

 MISC AUTO PARTS & SUPPLIES                                                                     1229-000                     $6,440.50

 MISC FARM EQUIPMENT & SUPPLIES                                                                 1229-000                     $8,121.00

 MISC TOOLS & SUPPLIES                                                                          1229-000                     $3,069.00

 MISC YARD EQUIPMENT/SUPPLIES                                                                   1229-000                     $4,482.50

 NEW HOLLAND HW325 SN 8131                                                                      1229-000                     $6,300.00

 NISSAN 257H PROPANE FORKLIFT SN 1140                                                           1229-000                     $1,045.00

 PAYMENT FROM BRETT JENSEN FARMS RCVD BY D 8/1/17                                               1229-000                     $9,500.00

 ROLLER HARROW WITH A INTERNATIONAL GRASS DRILL                                                 1229-000                     $3,570.00

 TY-CROP SILAGE TRUCK BED TRLR W/ HYDRAULIC HOOKUPS                                             1229-000                 $10,500.00

                             TOTAL GROSS RECEIPTS                                                                      $1,335,905.00

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM        $ AMOUNT
                 PAYEE                                      DESCRIPTION
                                                                                                   TRAN. CODE         PAID

                                                                          None




UST Form 101-7-TDR ( 10 /1/2010)
           Case 15-40763-JDP        Doc 1000     Filed 08/11/21   Entered 08/11/21 10:21:18       Desc
                                                   Page 5 of 52




EXHIBIT 3 - SECURED CLAIMS



                                   UNIFORM         CLAIMS
   Claim                                                           CLAIMS          CLAIMS                CLAIMS
             CLAIMANT               TRAN.        SCHEDULED
    NO.                                                           ASSERTED        ALLOWED                 PAID
                                    CODE       (from Form 6D)


            BANK OF                4110-000                 NA         $893.04         $893.04            $893.04
            COMMERCE
     2      KEYBANK NATIONAL       4210-000        $207,348.79     $261,254.54     $261,254.54              $0.00
            ASSOCIATION C/O
            RANDALL A.
            PETERMAN
            MOFFATT THOMAS
            BARRETT ROCK &
            FIELDS
     3      BONNEVILLE             4700-070              $0.00       $4,677.44       $4,677.44              $0.00
            COUNTY
            TREASURER MARK R
            HANSEN TAX
            COLLECTOR
     4      BONNEVILLE             4700-000                 NA       $2,027.36       $2,027.36              $0.00
            COUNTY
            TREASURER MARK R
            HANSEN TAX
            COLLECTOR
     5      BONNEVILLE             4700-070                 NA       $3,233.76       $3,233.76              $0.00
            COUNTY
            TREASURER MARK R
            HANSEN TAX
            COLLECTOR
     6      BONNEVILLE             4700-000                 NA         $496.82         $496.82              $0.00
            COUNTY
            TREASURER MARK R
            HANSEN TAX
            COLLECTOR
    10S     INTERNAL REVENUE       4300-000                 NA     $112,839.66     $112,839.66      $112,839.66
            SERVICE
     14     FARMS, LLC ATTN:       4210-000         $25,904.43      $18,075.58      $18,075.58              $0.00
            SHAWN D. BOYLE
     15     FARMS, LLC ATTN:       4110-000                 NA     $417,344.81     $417,344.81              $0.00
            SHAWN D. BOYLE
     28     FARMS, LLC ATTN:       4110-000                 NA     $272,100.00     $272,100.00              $0.00
            SHAWN D. BOYLE
     30     FARMS, LLC ATTN:       4110-000                 NA    $6,981,576.09   $6,981,576.09             $0.00
            SHAWN D. BOYLE
     31     BRAD HALL &            4110-000       $5,763,951.23   $6,981,576.09   $6,981,576.09             $0.00
            ASSOCIATES
     34     THE BANK OF            4110-000         $56,636.31      $59,762.17      $82,339.34       $82,339.34
            COMMERCE C/O
            BRIAN T. TUCKER
    35S     HONNEN                 4110-000                 NA       $8,000.00      $15,075.00       $15,075.00
            EQUIPMENT



UST Form 101-7-TDR ( 10 /1/2010)
           Case 15-40763-JDP          Doc 1000   Filed 08/11/21    Entered 08/11/21 10:21:18        Desc
                                                   Page 6 of 52



    40S     HONNEN                    4110-000             NA          $8,000.00           $0.00            $0.00
            EQUIPMENT CO. C/O
            KENDALL J.
            MORIARTY
     52     MANN FARMLAND             4210-000             NA             $0.00            $0.00            $0.00
            LLC C/O U.S. TRUST
            COMPANY, AGENT
            FOR
     53     JULIE ISOM C/O            4210-000             NA             $0.00            $0.00            $0.00
            HAWLEY TROXELL
            ENNIS & HAWLEY,
            LLP MARVIN M.
            SMITH
   POC2-    FARMS, LLC ATTN:          4110-000             NA       $272,100.00      $272,100.00            $0.00
            SHAWN D. BOYLE
   POC4-    FARMS, LLC ATTN:          4110-000             NA      $7,381,631.00    $7,381,631.00           $0.00
            SHAWN D. BOYLE
   POC5-    FARMS, LLC ATTN:          4110-000             NA      $7,381,631.00    $7,381,631.00           $0.00
            SHAWN D. BOYLE
    N/F     Agco Finance LLC          4110-000          $0.00                NA               NA              NA

    N/F     Agco Finance LLC          4110-000          $0.00                NA               NA              NA

    N/F     Helena Chemical           4110-000    $225,829.00                NA               NA              NA
            Company
    N/F     Industrial Ventilation    4110-000      $9,143.00                NA               NA              NA

    N/F     Mountain View             4110-000     $23,954.00                NA               NA              NA
            Equipment
    N/F     PacifiCorp dba Rocky      4110-000    $101,120.37                NA               NA              NA
            Mountain Power
    N/F     PacifiCorp dba Rocky      4110-000    $305,577.86                NA               NA              NA
            Mountain Power
    N/F     Pro Rentals & Sales,      4110-000     $23,409.00                NA               NA              NA
            Inc.
    N/F     Pro Rentals & Sales,      4110-000          $0.00                NA               NA              NA
            Inc. %Nelson, Hall,
            Parry, Tucker
    N/F     Simmons Brothers          4110-000     $85,107.00                NA               NA              NA
            Farm Inc
    N/F     State Industrial          4110-000     $10,125.00                NA               NA              NA
            Commission
    N/F     TCF Equipment             4110-000          $0.00                NA               NA              NA
            Finance Inc % Michael
            B. Howell, Esq.
    N/F     Trust Financial           4110-000      $1,209.00                NA               NA              NA

    N/F     U. S. Attorney's Office   4110-000          $0.00                NA               NA              NA
            MK Plaza, Plaza IV
    N/F     Wackerli Farms            4110-000    $154,913.00                NA               NA              NA

              TOTAL SECURED                      $6,994,227.99    $30,167,219.36   $30,188,871.53     $211,147.04




UST Form 101-7-TDR ( 10 /1/2010)
           Case 15-40763-JDP            Doc 1000   Filed 08/11/21   Entered 08/11/21 10:21:18     Desc
                                                     Page 7 of 52




EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                       UNIFORM       CLAIMS          CLAIMS          CLAIMS              CLAIMS
   PAYEE                                TRAN.      SCHEDULED        ASSERTED        ALLOWED               PAID
                                        CODE

 Trustee, Fees - R. Sam Hopkins        2100-000            NA         $63,327.15     $63,327.15      $63,327.15

 Trustee, Expenses - R. Sam            2200-000            NA          $1,697.97      $1,697.97          $1,697.97
 Hopkins
 Auctioneer Fees - PRIME TIME          3610-000            NA        $101,445.00    $101,445.00     $101,445.00
 AUCTIONS
 Auctioneer Expenses - PRIME           3620-000            NA         $24,602.45     $22,204.10      $22,204.10
 TIME AUCTIONS
 Charges, U.S. Bankruptcy Court        2700-000            NA           $350.00        $350.00            $350.00

 Fees, United States Trustee           2950-000            NA          $2,624.01      $2,624.01          $2,624.01

 Costs to Secure/Maintain Property -   2420-000            NA           $238.81        $238.81            $238.81
 BRIAN'S TIRE FACTORY & AUTO
 REPAIR
 Banking and Technology Service        2600-000            NA          $7,955.71      $7,955.71          $7,955.71
 Fee - Rabobank, N.A.
 Attorney for Trustee Fees (Other      3210-000            NA        $134,510.50    $134,510.50     $134,510.50
 Firm) - SPINNER, WOOD, AND
 SMITH
 Attorney for Trustee Expenses         3220-000            NA          $3,269.27      $3,269.27          $3,269.27
 (Other Firm) - SPINNER, WOOD,
 AND SMITH
 Accountant for Trustee Fees (Other    3410-000            NA         $10,031.60     $10,031.60      $10,031.60
 Firm) - JORDAN & COMPANY,
 CHARTERED
 Accountant for Trustee Expenses       3420-000            NA           $199.80        $199.80            $199.80
 (Other Firm) - JORDAN &
 COMPANY, CHARTERED
 TOTAL CHAPTER 7 ADMIN. FEES
                                                           NA        $350,252.27    $347,853.92     $347,853.92
        AND CHARGES




UST Form 101-7-TDR ( 10 /1/2010)
           Case 15-40763-JDP            Doc 1000     Filed 08/11/21     Entered 08/11/21 10:21:18     Desc
                                                       Page 8 of 52




EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                       UNIFORM
                                                     CLAIMS              CLAIMS          CLAIMS          CLAIMS
   PAYEE                                TRAN.
                                                   SCHEDULED            ASSERTED        ALLOWED           PAID
                                        CODE

 Prior Chapter Attorney for            6220-000                NA          $72,504.41    $72,504.41      $72,504.41
 Trustee/DIP Expenses (Other Firm)
 - BRENT ROBINSON
 Prior Chapter Accountant for          6410-000                NA          $12,752.85     $4,795.00          $4,795.00
 Trustee/DIP Fees (Other Firm) -
 BRYAN SNARR CPA
 Attorney for D-I-P Fees - JAY A       6210-160                NA               $0.00         $0.00             $0.00
 KOHLER
 Prior Chapter Auctioneer/Liquidator   6620-000                NA               $0.00         $0.00             $0.00
 Expenses - US AUCTION/CARL
 VAN TASSELL
 Other Prior Chapter Professional      6700-000                NA           $2,038.00     $2,038.00          $2,038.00
 Fees - VERNON L NELSON
 Prior Chapter Other Operating         6950-000                NA          $31,807.00    $31,807.00      $31,807.00
 Expenses - JOAN ISOM
 TOTAL PRIOR CHAPTER ADMIN.
                                                             $0.00        $119,102.26   $111,144.41     $111,144.41
     FEES AND CHARGES




 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                         CLAIMS
                                       UNIFORM         CLAIMS
                                                                        ASSERTED         CLAIMS              CLAIMS
 CLAIM NO.          CLAIMANT            TRAN.       SCHEDULED
                                                                     (from Proofs of    ALLOWED               PAID
                                        CODE       (from Form 6E)
                                                                          Claim)

     10P      INTERNAL REVENUE         5800-000        $132,211.88         $36,473.59    $36,473.59      $36,473.59
              SERVICE

     37P      IDAHO STATE TAX          5800-000         $19,608.00            $367.08      $367.08            $367.08
              COMMISSION
              BANKRUPTCY
              DIVISION

            TOTAL PRIORITY
           UNSECURED CLAIMS                            $151,819.88         $36,840.67    $36,840.67      $36,840.67




UST Form 101-7-TDR ( 10 /1/2010)
           Case 15-40763-JDP        Doc 1000     Filed 08/11/21     Entered 08/11/21 10:21:18     Desc
                                                   Page 9 of 52




 EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                     CLAIMS
                                   UNIFORM         CLAIMS
                                                                    ASSERTED         CLAIMS              CLAIMS
 CLAIM NO.       CLAIMANT           TRAN.       SCHEDULED
                                                                 (from Proofs of    ALLOWED               PAID
                                    CODE       (from Form 6F)
                                                                      Claim)

     1       FARMS, LLC ATTN:      7400-000          $2,375.33          $2,375.33     $2,375.33           $207.27
             SHAWN D. BOYLE

     7       ALLY FINANCIAL        7100-000             $20.83             $20.83       $20.83             $20.83


     8       R & L CUSTOM          7100-000          $9,695.00          $9,695.00     $9,695.00          $9,695.00
             APPLICATION

     9       ROCKNAKS              7100-000          $1,357.90          $1,375.31     $1,375.31          $1,375.31
             HARDWARE

     10I     INTERNAL REVENUE      7100-000                NA             $125.77      $125.77            $125.77
             SERVICE

    10SZ     INTERNAL REVENUE      7400-000                NA          $40,151.16    $40,151.16      $40,151.16
             SERVICE

    10Z      INTERNAL REVENUE      7300-000                NA          $15,783.14    $15,783.14      $15,783.14
             SERVICE

     11      RESURGENT             7100-000                NA             $119.02      $119.02            $119.02
             CAPITAL SERVICES

     12      RESURGENT             7100-000                NA             $229.32      $229.32            $229.32
             CAPITAL SERVICES

     13      FARMS, LLC ATTN:      7400-000         $15,336.30         $19,465.76    $19,465.76          $1,698.50
             SHAWN D. BOYLE

     16      BEARING &             7100-000          $1,184.68          $1,542.08     $1,542.08          $1,542.08
             INDUSTRIAL SALES

     17      WIPFLI LLP ATTN:      7100-000          $8,173.17         $12,906.60    $12,906.60      $12,906.60
             STEVE SEIDL

     18      AIRGAS                7100-000             $40.00          $4,933.77     $4,933.77          $4,933.77


     19      FARMS, LLC ATTN:      7400-000         $14,800.00         $14,800.00    $14,800.00          $1,291.38
             SHAWN D. BOYLE

    20U      JOAN ISOM             7100-000                NA          $79,693.00    $79,693.00      $79,693.00


     21      FARMS, LLC ATTN:      7400-000         $58,851.00         $86,688.34    $86,688.34          $7,564.05
             SHAWN D. BOYLE



UST Form 101-7-TDR ( 10 /1/2010)
          Case 15-40763-JDP        Doc 1000   Filed 08/11/21 Entered 08/11/21 10:21:18     Desc
                                               Page 10 of 52



     22     BV LENDING, LLC        7100-000    $160,000.00    $155,235.62    $155,235.62     $155,235.62
            C/O THEL W.
            CASPER, ESQ.

     23     CIRCLE B CATTLE        7100-000            NA      $31,187.35     $31,187.35      $31,187.35
            COMPANY, LLC

     24     WELLS FARGO            7100-000            NA      $44,771.12     $44,771.12      $44,771.12
            FINANCIAL LEASING,
            INC.

     25     FARMS, LLC ATTN:       7400-000            NA       $6,182.95      $5,377.78           $469.24
            SHAWN D. BOYLE

     26     WELLS FARGO CARD       7100-000      $1,032.00       $953.88        $953.88            $953.88
            SERVICES

     27     FARMS, LLC ATTN:       7400-000            NA     $184,590.57    $184,590.57      $16,106.57
            SHAWN D. BOYLE

     29     FARMS, LLC ATTN:       7400-000            NA     $103,145.63    $103,145.63          $9,000.04
            SHAWN D. BOYLE

     32     IDAHO SUPREME          7100-000      $5,846.60     $34,486.56     $34,486.56      $34,486.56
            POTATOES INC

     33     FARMS, LLC ATTN:       7400-000            NA     $121,587.06    $121,587.06      $10,609.16
            SHAWN D. BOYLE

    35U     HONNEN                 7100-000      $8,679.13       $305.39           $0.00             $0.00
            EQUIPMENT

     36     INTERNAL REVENUE       7100-000            NA           $0.00          $0.00             $0.00
            SERVICE

    37Z     IDAHO STATE TAX        7300-000            NA         $88.25         $88.25             $88.25
            COMMISSION
            BANKRUPTCY
            DIVISION

     38     CNH INDUSTRIAL         7200-000            NA      $68,899.19          $0.00             $0.00
            CAPITAL AMERICA
            LLC

     39     STATE INSURANCE        7100-000     $20,170.47     $20,521.91     $20,521.91      $20,521.91
            FUND

    40U     HONNEN                 7100-000          $0.00       $305.39           $0.00             $0.00
            EQUIPMENT CO. C/O
            KENDALL J.
            MORIARTY

     42     QWEST CORP DBA         7100-000       $368.64        $228.56        $228.56            $228.56
            CENTURYLINK
            COMMUNICATIONS




UST Form 101-7-TDR ( 10 /1/2010)
           Case 15-40763-JDP        Doc 1000   Filed 08/11/21 Entered 08/11/21 10:21:18       Desc
                                                Page 11 of 52



     43     FARMS, LLC C/O          7400-000     $12,000.00      $9,154.87       $9,154.87            $798.81
            RYAN B MEIKLE ESQ

     44     FARMS, LLC C/O          7400-000       $562.39         $907.57         $907.57             $79.19
            RYAN B MEIKLE ESQ

     45     FARMS, LLC C/O          7400-000     $11,676.53     $13,224.17      $13,224.17           $1,153.88
            RYAN B MEIKLE ESQ

     46     FARMS, LLC C/O          7400-000      $2,589.56      $4,025.92       $4,025.92            $351.28
            RYAN B MEIKLE ESQ

     47     FARMS, LLC C/O          7400-000      $1,193.58      $1,359.68       $1,359.68            $118.64
            RYAN B MEIKLE ESQ

     48     FARMS, LLC C/O          7400-000      $5,203.49      $5,203.49       $5,203.49            $454.03
            RYAN B MEIKLE ESQ

     49     FARMS, LLC C/O          7400-000      $7,430.08      $7,430.08       $7,430.08            $648.32
            RYAN B MEIKLE ESQ

     50     FARMS, LLC C/O          7400-000      $4,268.20      $3,699.14       $3,699.14            $322.77
            RYAN B MEIKLE ESQ

     51     FARMS, LLC C/O          7400-000            NA      $18,281.70      $18,281.70           $1,595.18
            RYAN B MEIKLE ESQ

     54     RICHARD JAMES           7100-000            NA      $19,940.00      $19,940.00       $19,940.00
            HAYS

   POC1-    FARMS, LLC ATTN:        7400-000    $153,650.45   $1,064,261.61   $1,064,261.61      $92,862.84
            SHAWN D. BOYLE

   POC3-    FARMS, LLC ATTN:        7400-000            NA     $110,016.44     $110,016.44           $9,599.56
            SHAWN D. BOYLE

    N/F     A-1 Collection Agency   7100-000        $31.00              NA              NA                 NA


    N/F     Amerigas                7100-000        $51.94              NA              NA                 NA


    N/F     Bonneville Billing &    7100-000      $2,096.00             NA              NA                 NA
            Collect

    N/F     Busch Agricultural      7100-000      $6,097.00             NA              NA                 NA
            Resources Idaho Falls
            Seed Plant

    N/F     C. E. Hawkins & Sons    7100-000      $1,634.41             NA              NA                 NA


    N/F     CREDIT                  7100-000       $202.14              NA              NA                 NA
            MANAGEMENT

    N/F     Chase Card              7100-000     $23,544.00             NA              NA                 NA



UST Form 101-7-TDR ( 10 /1/2010)
          Case 15-40763-JDP           Doc 1000   Filed 08/11/21 Entered 08/11/21 10:21:18   Desc
                                                  Page 12 of 52



    N/F     City of Idaho Falls       7100-000       $320.00           NA             NA           NA


    N/F     EASTERN IDAHO             7100-000       $115.14           NA             NA           NA
            RMC

    N/F     Ellsworth & Associates,   7100-000       $635.00           NA             NA           NA
            PLLC

    N/F     Federated Auto Parts      7100-000      $1,214.18          NA             NA           NA


    N/F     Galusha Higgins &         7100-000      $8,258.60          NA             NA           NA
            Galusha PC

    N/F     Galusha Higgins &         7100-000      $4,648.00          NA             NA           NA
            Galusha PC

    N/F     Galusha Higgins &         7100-000       $896.72           NA             NA           NA
            Galusha PC

    N/F     Galusha Higgins &         7100-000       $236.36           NA             NA           NA
            Galusha PC

    N/F     Industrial Hose &         7100-000        $19.85           NA             NA           NA
            Fittings

    N/F     Les Schwab Tires          7100-000      $2,629.17          NA             NA           NA


    N/F     MCFARLAND SEED            7100-000     $16,471.95          NA             NA           NA
            SERVICES

    N/F     MEDICRAFT                 7100-000       $348.34           NA             NA           NA


    N/F     Pike, Herndon, Stosich    7100-000            NA           NA             NA           NA
            & Johnston

    N/F     Pro Power                 7100-000      $1,382.86          NA             NA           NA


    N/F     RACINE OLSON              7100-000      $2,500.00          NA             NA           NA


    N/F     Radiology Physicians      7100-000            NA           NA             NA           NA
            Idaho

    N/F     Rain for Rent             7100-000      $2,400.00          NA             NA           NA


    N/F     Rain for Rent             7100-000      $2,400.00          NA             NA           NA


    N/F     Rise Broadband            7100-000       $254.35           NA             NA           NA


    N/F     US Bank                   7100-000      $3,981.00          NA             NA           NA




UST Form 101-7-TDR ( 10 /1/2010)
          Case 15-40763-JDP        Doc 1000   Filed 08/11/21 Entered 08/11/21 10:21:18       Desc
                                               Page 13 of 52



    N/F     Verizon Wireless       7100-000       $799.11              NA              NA              NA


    N/F     Wackerli Auto Center   7100-000       $482.34              NA              NA              NA


            TOTAL GENERAL
           UNSECURED CLAIMS                    $590,154.79   $2,319,898.53   $2,249,583.39     $628,918.96




UST Form 101-7-TDR ( 10 /1/2010)
                  Case 15-40763-JDP                             Doc 1000             Filed 08/11/21 Entered 08/11/21 10:21:18                            Desc
                                                                                      Page 14 of 52
                                                                Form 1
                                                                                                                                                            Exhibit 8
                                            Individual Estate Property Record and Report                                                                    Page: 1

                                                             Asset Cases
Case No.: 15-40763                                                                                 Trustee Name:      (320130) R. Sam Hopkins
Case Name:    ISOM, RALPH DEAN                                                                     Date Filed (f) or Converted (c): 11/14/2017 (c)
              I & S FARMS CONSOLIDATED WITH IND BK
                                                                                                   § 341(a) Meeting Date:       01/03/2018
For Period Ending:         08/04/2021                                                              Claims Bar Date:      04/03/2018

                                       1                                    2                     3                      4                   5                   6

                           Asset Description                             Petition/        Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)               Unscheduled       (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                          Values                Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                        Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                                   and Other Costs)

    1       TEN (10) ACRES, MORE OR LESS, OF                             140,000.00                140,000.00           OA                        0.00                        FA
            IRRIGATED FARM, GROUND, WITH
            SHOP, GRAIN BINS AND RESIDENCE
            JUDGMENT LIENS OF RECORD,
            LOCATED AT 5584 WEST 33RD
            NORTH, IDAHO FALLS, BONNEVILLE
            COUNTY, IDAHO, WHICH IS MORE,
            PARTICULARLY DESCRIBED AS S E
            SE, SECTION 6, TOWNSHIP 2 NORTH,
            RANGE 37 EBM, BONNEVILLE,
            COUNTY, IDAHO.
            06/22/2018 (AWILLIAMS) em fr Paul re For the
            property described below, including the acreage and
            the buildings on the property, I came up with a market
            value of $175,000 for all. It appears on the GIS maps
            for Bonneville county this property is used to store all
            the farm equipment and transport trucks. Which can be
            seen parked all over on the acreage.

            dkt#665 on 4/4/18 order disalllowing homestead dex

            04/04/18 dkt#665 order disallowing dex

            02/09/2018 (AWILLIAMS) Dkt#622 amended Sch C
            -ten acres DEX$100k as homestead
            --1/11/18 dkt590 amended sch c
            ---------5/2/16 dkt#217 order of abandonment



    2       TWENTY (20) ACRES, MORE OR LESS,                             120,000.00                120,000.00                                     0.00                        FA
            OF RAW IRRIGATED, FARM GROUND
            ONLY, WHICH IS DESCRIBED AS E SE
            JUDGMENT LIENS OF RECORD, NW .
            SECTION 17. TOWNSHIP 2 NORTH,
            RANGE 37, EBM (WR) (WR05)
            BONNEVILLE COUNTY, IDAHO., NOTE:
            THERE IS NO ADDRESS FOR THIS
            PROPERTY PER THE, COUNTY GIS
            SYSTEM FOR THIS PARCEL.

    3       ONE & ONE THIRD (1.34) ACRES,                                125,000.00                125,000.00                                6,000.00                         FA
            MORE OR LESS, TOGETHER, WITH A
            RESIDENCE LOCATED THEREON AT
            159 NORTH 55TH JUDGMENT LIENS
            OF RECORD, WEST, IDAHO FALLS,
            BONNEVILLE COUNTY, IDAHO,
            WHICH, IS MORE PARTICULARLY
            DESCRIBED AS SE SE SE, SECTION
            18, TOWNSHIP 2 NORTH RANGE 37
            EBM, BONNEVILLE COUNTY, IDAHO.
            zillow value as of 12/19 is 192088




UST Form 101-7-TDR ( 10 /1/2010)
                 Case 15-40763-JDP                          Doc 1000            Filed 08/11/21 Entered 08/11/21 10:21:18                             Desc
                                                                                 Page 15 of 52
                                                               Form 1
                                                                                                                                                        Exhibit 8
                                           Individual Estate Property Record and Report                                                                 Page: 2

                                                            Asset Cases
Case No.: 15-40763                                                                             Trustee Name:      (320130) R. Sam Hopkins
Case Name:    ISOM, RALPH DEAN                                                                 Date Filed (f) or Converted (c): 11/14/2017 (c)
              I & S FARMS CONSOLIDATED WITH IND BK
                                                                                               § 341(a) Meeting Date:       01/03/2018
For Period Ending:         08/04/2021                                                          Claims Bar Date:      04/03/2018

                                      1                                2                      3                      4                   5                   6

                           Asset Description                        Petition/         Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)          Unscheduled        (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                     Values                 Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                    Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                               and Other Costs)

    4       RESIDENCE AND SURROUNDING,                            11,465,000.00              5,701,048.77                                     0.00                        FA
            (1,875.83) IRRIGATED ACRES, MORE
            OR LESS, (171) ACRES, SUBJECT TO
            LEASE-, MORE OR LESS, OF NATIVE
            DRY PASTURE, (11) ACRES, MORE
            PURCHASE AGMT?????, OR LESS, OF
            FARMSTEAD AND (59.90) ACRES,
            MORE OR, LESS, OF WASTE LAND
            AND ROADS, COMMONLY REFERRED,
            TO AS THE "OAKLAND VALLEY FARM
            PROPERTY" LOCATED AT, OR ABOUT
            49TH NORTH AND 55TH WEST, IDAHO
            FALLS, BONNEVILLE COUNTY, IDAHO,
            TOGETHER WITH THE WATER,
            RIGHTS ASSOCIATED THEREWITH.

    5       CURRENCY & COIN                                            3,000.00                   2,800.00                                    0.00                        FA
            02/09/2018 (AWILLIAMS) Dkt#622 amended Sch C to
            dex currency & coin for $200 (says value $200 --but
            never amended sch b for value)



    6       CHECKING ACCT NO. ___________                                  450.00                      0.00                                   0.00                        FA
            WELLS FARGO BANK, IDAHO FALLS,
            ID
            02/09/2018 (AWILLIAMS) Dkt#622 amended Sch C--
            did not exempt

            was negative on date of conversion per wf

    7       CHECKING ACCT NO. XXXXXXXX2100                                   0.00                      0.00                                   0.00                        FA
            KEY BANK - IDAHO FALLS, ID
            02/09/2018 (AWILLIAMS) Dkt#622 amended Sch C--
            did not dex


    8       CHECKING ACCT NO. XXXXXX5312 US                                 25.50                     25.50                                   0.00                        FA
            BANK - IDAHO FALLS, ID
            02/09/2018 (AWILLIAMS) Dkt#622 amended Sch C--
            did not dex


    9       MONEY MARKET SAVINGS ACCT NO.                                   75.00                     75.00                                   0.00                        FA
            XXXXXX7218 US BANK - IDAHO
            FALLS, ID
            02/09/2018 (AWILLIAMS) Dkt#622 amended Sch C--
            did not dex


   10       CHECKING ACCT NO. XXXX9058                                      18.09                     18.09                                   0.00                        FA
            ______________ BANK - IDAHO FALLS,
            ID
            02/09/2018 (AWILLIAMS) Dkt#622 amended Sch C--
            did not dex


   11       CHECKING ACCT NO. XXXXXX5463                                    14.99                     14.99                                   0.00                        FA
            BANK OF COMMERCE - IDAHO FALLS,
            ID
            02/09/2018 (AWILLIAMS) Dkt#622 amended Sch C--
            did not dex




UST Form 101-7-TDR ( 10 /1/2010)
                 Case 15-40763-JDP                         Doc 1000          Filed 08/11/21 Entered 08/11/21 10:21:18                             Desc
                                                                              Page 16 of 52
                                                           Form 1
                                                                                                                                                     Exhibit 8
                                       Individual Estate Property Record and Report                                                                  Page: 3

                                                        Asset Cases
Case No.: 15-40763                                                                          Trustee Name:      (320130) R. Sam Hopkins
Case Name:    ISOM, RALPH DEAN                                                              Date Filed (f) or Converted (c): 11/14/2017 (c)
              I & S FARMS CONSOLIDATED WITH IND BK
                                                                                            § 341(a) Meeting Date:       01/03/2018
For Period Ending:       08/04/2021                                                         Claims Bar Date:      04/03/2018

                                   1                                2                      3                      4                   5                   6

                           Asset Description                     Petition/         Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)       Unscheduled        (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                  Values                 Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                 Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                            and Other Costs)

   12       CHECKING ACCT NO. XXXXXX1912                                  0.00                      0.00                                   0.00                        FA
            BANK OF COMMERCE - IDAHO FALLS,
            ID
            02/09/2018 (AWILLIAMS) Dkt#622 amended Sch C--
            did not dex


   13       HOUSEHOLD GOODS AND                                     8,296.00                        0.00                              3,045.00                         FA
            FURNISHINGS
            02/09/2018 (AWILLIAMS) Dkt#622 amended Sch C
            hhg dex $8296


   14       ENCYCLOPEDIAS                                                25.00                      0.00                                   0.00                        FA
            02/09/2018 (AWILLIAMS) Dkt#622 amended Sch C
            Dex$25


   15       COIN COLLECTION                                         1,000.00                     800.00                                    0.00                        FA
            02/09/2018 (AWILLIAMS) Dkt#622 amended Sch C
            Coin Collection DEX$200 under (10)




   16       CLOTHING & AFFECTS                                          800.00                      0.00                                   0.00                        FA
            02/09/2018 (AWILLIAMS) Dkt#622 amended Sch C
            clothing DEX$800


   17       WEDDING RING; WEDDING BAND                                  850.00                      0.00                                   0.00                        FA
            02/09/2018 (AWILLIAMS) Dkt#622 amended Sch C
            Jewelry DEX$850


   18       REMINGTON 701                                               200.00                      0.00                                   0.00                        FA
            02/09/2018 (AWILLIAMS) Dkt#622 amended Sch C
            Remington 701 DEX$200 under (8)


   19       REMINGTON 22                                                150.00                      0.00                                   0.00                        FA
            02/09/2018 (AWILLIAMS) Dkt#622 amended Sch C
            Remington 22 Dex $150 under (8)


   20       REMINGTON 20 GAUGE SHOTGUN                                  100.00                      0.00                                   0.00                        FA
            02/09/2018 (AWILLIAMS) Dkt#622 amended Sch C
            Remington 20 ga DEX$100 under (11)


   21       AMMO                                                        150.00                      0.00                                   0.00                        FA
            02/09/2018 (AWILLIAMS) Dkt#622 amended Sch C
            ammo DEX$150 under (11)




UST Form 101-7-TDR ( 10 /1/2010)
                 Case 15-40763-JDP                         Doc 1000            Filed 08/11/21 Entered 08/11/21 10:21:18                             Desc
                                                                                Page 17 of 52
                                                             Form 1
                                                                                                                                                       Exhibit 8
                                         Individual Estate Property Record and Report                                                                  Page: 4

                                                          Asset Cases
Case No.: 15-40763                                                                            Trustee Name:      (320130) R. Sam Hopkins
Case Name:    ISOM, RALPH DEAN                                                                Date Filed (f) or Converted (c): 11/14/2017 (c)
              I & S FARMS CONSOLIDATED WITH IND BK
                                                                                              § 341(a) Meeting Date:       01/03/2018
For Period Ending:        08/04/2021                                                          Claims Bar Date:      04/03/2018

                                     1                                2                      3                      4                   5                   6

                           Asset Description                       Petition/         Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)         Unscheduled        (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                    Values                 Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                   Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                              and Other Costs)

   22       SLEEPING BAG; AIR BED; (2) FOLDING                            240.00                   200.00                                    0.00                        FA
            CHAIRS; PORTABLE GRILL; (2)
            FISHING POLES; TACKLE BOX &
            TACKLE
            02/09/2018 (AWILLIAMS) Dkt#622 amended Sch C
            -dex sports & hobb for $40 under (11)
            -did not exempt
             (2) FISHING POLES, Current Trustee Value: $100.00
             TACKLE BOX & TACKLE, Current Trustee Value:
            $100.00



   23       US BANK IRA ACCT NO.                                      5,973.46                        0.00                                   0.00                        FA
            XXXXXXXX6992 IDAHO FALLS, ID
            02/09/2018 (AWILLIAMS) Dkt#622 amended Sch C
            dex US Bank IRA for $5973.46 under 11-604a

   24       I & S FARMS PARTNERSHIP (AN                                     0.00                      0.00                                   0.00                        FA
            ASSUMED BUSINESS NAME)

   25       I & S FARMS, GENERAL                                            0.00                      0.00                                   0.00                        FA
            PARTNERSHIP (AN ASSUMED
            BUSINESS NAME)

   26       STEWART-ISOM MOUNTAIN                                           0.00                      0.00                                   0.00                        FA
            PROPERTIES - 5% INTEREST

   27       PATENT NO. 6805232 FILED OCTOBER                                0.00                      0.00                                   0.00                        FA
            19, 2014 APPARATUS AND METHOD
            FOR DIRECTING AND CUSHIONING
            ITEMS DURING PILING 100%
            OWNERSHIP INTEREST

   28       SEE ATTACHED VEHICLE LIST                              312,700.00                 242,063.69                             197,407.50                          FA
            02/09/2018 (AWILLIAMS) Dkt#622 amended Sch C
            -2007 GMC Yukon DEX$7k under (3)
            -2006 GMC Sra Pickup DEX$7k under (3)

   29       OFFICE EQUIPMENT                                          2,700.00                    2,700.00                                   0.00                        FA

   30       (2) GENERATORS; (2) AIR                                   3,925.00                        0.00                              4,510.00                         FA
            COMPRESSORS; (3) GRINDERS; (3)
            WELDERS; (2) AUGERS

            -CAN THEY STILL CLAIM DEX IF I&S FARMS IN BK
            TOO?? ALSO, ON SCH I SAID HE IS FARMER, SHE
            IS NOT EMPLOYED... STILL GET DEX FOR BOTH
            OR JUST $2500 FOR HIM??

   31       APPROX. (100) BEEF COWS @ $1,500                       150,000.00                 150,000.00                                     0.00                        FA
            EA CHALLIS AREA

   32       APPROX. (30) CALVES @ $1,200 EA                         36,000.00                    36,000.00                                   0.00                        FA
            CHALLIS AREA

   33       APPROX. (425) TON OF 1ST CROP                           67,575.00                    67,575.00                                   0.00                        FA
            ALFALFA HAY HARVESTED (WHICH
            WAS RAINED ON) 2.12 ACRES / 901
            UNITS @ $75 PER UNIT




UST Form 101-7-TDR ( 10 /1/2010)
                 Case 15-40763-JDP                             Doc 1000            Filed 08/11/21 Entered 08/11/21 10:21:18                              Desc
                                                                                    Page 18 of 52
                                                               Form 1
                                                                                                                                                            Exhibit 8
                                           Individual Estate Property Record and Report                                                                     Page: 5

                                                            Asset Cases
Case No.: 15-40763                                                                                Trustee Name:      (320130) R. Sam Hopkins
Case Name:    ISOM, RALPH DEAN                                                                    Date Filed (f) or Converted (c): 11/14/2017 (c)
              I & S FARMS CONSOLIDATED WITH IND BK
                                                                                                  § 341(a) Meeting Date:       01/03/2018
For Period Ending:         08/04/2021                                                             Claims Bar Date:      04/03/2018

                                       1                                  2                      3                      4                   5                    6

                           Asset Description                           Petition/         Estimated Net Value     Property Formally     Sale/Funds           Asset Fully
                (Scheduled And Unscheduled (u) Property)             Unscheduled        (Value Determined By        Abandoned        Received by the     Administered (FA)/
                                                                        Values                 Trustee,             OA=§554(a)           Estate           Gross Value of
                                                                                       Less Liens, Exemptions,       abandon.                            Remaining Assets
  Ref. #                                                                                  and Other Costs)

   34       APPROX. (425) TONS OF 2ND CROP                              55,781.00                    55,781.00                                    0.00                        FA
            ALFALFA HAY HARVESTED 1.74
            ACRES / 743.8 UNITS @ $75 PER UNIT

   35       APPROX. (425) TONS, MORE OR LESS                            55,781.00                    55,781.00                                    0.00                        FA
            OF 3RD CROP HAY GROWING - 1.75
            ACRES / 743.8 UNITS AT $75 PER UNIT
            (ESTIMATE)

   36       APPROX. (____) ACRES, MORE OR                              166,348.00                 166,348.00                                      0.00                        FA
            LESS OF MALT BARLEY GROWING -
            ESTIMATE 241.86 BUSHELS @ $6
            $0 UNDER 11-605(7)---OK IF LESS THAN 50 ACRES

   37       APPROX. (15) ACRES OF CORN FOR                              78,000.00                    61,528.05                                    0.00                        FA
            SILAGE GROWING 1,950 UNITS @ $40

   38       FARMING EQUIPMENT &                                      1,267,650.00               1,002,850.00                             646,197.00                           FA
            IMPLEMENTS: SEE ATTACHED
            EQUIPMENT LIST
            DKT#147 ORDER APPROVING SALE OF
            EQUIPMENT VALUED AT $264800.

   39       (500) TON OF SILAGE FROM 2014                               20,000.00                    20,000.00                                    0.00                        FA

   40       (12) BAGS OF CORN SEED @ $200                                 2,400.00                       21.00                                    0.00                        FA
            PER BAG

   41       (15) GALS OF EPTAM @ $50 PER GAL                                  750.00                   750.00                                     0.00                        FA

   42       (5) GALS OF OUTLOOK @ $50 PER                                     200.00                      0.00                                    0.00                        FA
            GAL
            02/09/2018 (AWILLIAMS) dkt#622 amended sch C for
            5 gal outlook DEX$2k under (7)

   43       (9) 55-GAL BARRELS OF MOTOR OIL                               5,940.00                    5,940.00                                    0.00                        FA
            @ $12 PER GAL

   44       (12) BALLS OF BALING TWINE                                        300.00                   300.00                                     0.00                        FA

   45       (800) GALS OF OFF-ROAD DIESEL                                 1,800.00                    1,800.00                                  330.00                        FA
            FUEL

   46       FEED BARLEY FROM 2014 - APPOX.                                9,500.00                    9,500.00                                    0.00                        FA
            4,750 UNITS @ $2 PER UNIT

   47       HOT TUB; POOL; JOGGER                                             400.00                      0.00                                    0.00                        FA
            TRAMPOLINE; AIR HOCKEY TABLE
            02/09/2018 (AWILLIAMS) dkt#622 amended sch C for
            hot tub, pool, jogger trampoline, and air hockey table
            DEX$400 under (11)

   48       IDWR / NEW SWEDEN CANAL                                      Unknown                          0.00                                    0.00                        FA
            DISTRICT WATER RIGHTS
            02/09/2018 (AWILLIAMS) dkt#622 amended sch C for
            IDWR/ New Sweden Canal District Water Rights DEX
            UK amt under 11-605(7)




UST Form 101-7-TDR ( 10 /1/2010)
                 Case 15-40763-JDP                         Doc 1000           Filed 08/11/21 Entered 08/11/21 10:21:18                             Desc
                                                                               Page 19 of 52
                                                            Form 1
                                                                                                                                                      Exhibit 8
                                        Individual Estate Property Record and Report                                                                  Page: 6

                                                         Asset Cases
Case No.: 15-40763                                                                          Trustee Name:      (320130) R. Sam Hopkins
Case Name:    ISOM, RALPH DEAN                                                              Date Filed (f) or Converted (c): 11/14/2017 (c)
              I & S FARMS CONSOLIDATED WITH IND BK
                                                                                            § 341(a) Meeting Date:       01/03/2018
For Period Ending:       08/04/2021                                                         Claims Bar Date:      04/03/2018

                                    1                                2                     3                      4                   5                    6

                           Asset Description                      Petition/        Estimated Net Value     Property Formally     Sale/Funds           Asset Fully
                (Scheduled And Unscheduled (u) Property)        Unscheduled       (Value Determined By        Abandoned        Received by the     Administered (FA)/
                                                                   Values                Trustee,             OA=§554(a)           Estate           Gross Value of
                                                                                 Less Liens, Exemptions,       abandon.                            Remaining Assets
  Ref. #                                                                            and Other Costs)

   49       WATER SHARES: PALISADES WATER                         200,000.00                        0.00                                    0.00                        FA
            USERS SHARE CERTIFICATES 103
            AND 300
            02/09/2018 (AWILLIAMS) dkt#622 amended sch C for
            water shares : Palisades Water Users Share
            Certificated 103 and 300 DEX$200k under 11-605(7)

            11-605(7)--OK??? CANT EXCEED 160 INCHES
            WATER

   50       SCRAP METAL                                              2,000.00                   2,000.00                                  412.50                        FA

   51       CASH ON HAND I&S FARMS                                   3,000.00                   3,000.00                                    0.00                        FA
            PARTNERSHIP

   52       5 COW CALF PAIRS - I&S FARMS                             5,300.00                   5,300.00                                    0.00                        FA
            PARTNERSHIP

   53       12 CALVES- I&S FARMS                                     6,600.00                   6,600.00                                    0.00                        FA
            PARTNERSHIP

   54       FARM EQUIPMENT AND MACHINES -                          52,350.00                   52,350.00                                  302.50                        FA
            I&S FARMS PARTNERSHIP

   55       2009 BUICK LUC - 50,000 MILES - VIN                    10,000.00                   10,000.00                                    0.00                        FA
            132289 - I&S FARMS PARTNERSHIP

   56       1978 FORD TRUCK VIN BJ7930 - I&S                         1,500.00                   1,500.00                                    0.00                        FA
            FARMS PARTNERSHIP

   57       2002 GMC TRUCK POOR CONDITION                            1,500.00                   1,500.00                                    0.00                        FA
            220K MIELS VIN 211161 - I&S FARMS
            PARTNERSHIP

   58       2008 CIRD CATTLE TRAILER VIN 1328                        5,000.00                   5,000.00                              6,825.00                          FA
            - I&S FARMS PARTNERSHIP

   59       1980 TIMP HORSE TRAILER VIN 50077                        1,500.00                   1,500.00                              2,750.00                          FA
            - I&S FARMS PARTNERSHIP

   60       640 ACRES IRRIGATED FARM LAND                       4,800,000.00              4,800,000.00                                      0.00                        FA
            SEC 31 T2N, RANGE 37 EBM - I&S
            FARMS PARTNERSHIP
            D NOTED INTEREST AS CONTINGENT ON DEED
            AVOIDANCE

   61       CLAIM AGAINST FARMS LLC AND                             Unknown                    Unknown                                      0.00                        FA
            BRAD HALL & ASSOCIATES INC. TO
            RECLAIM 640 ACRES OF FARM LAND -
            I&S FARMS PARTNERSHIP

   62       3.4 SHARES PALISADES WATER                               2,100.00                   2,100.00                                    0.00                        FA
            USERS ASSOCIATION - I&S FARMS
            PARTNERSHIP
            AMENDMENT DKT#47 IN 16-40889

   63       800' 18" POTATO CELLAR AIR PIPE-                       12,000.00                   12,000.00                                    0.00                        FA
            I&S FARMS PARTNERSHIP
            AMENDMENT DKT#47 IN 16-40889




UST Form 101-7-TDR ( 10 /1/2010)
                 Case 15-40763-JDP                          Doc 1000          Filed 08/11/21 Entered 08/11/21 10:21:18                              Desc
                                                                               Page 20 of 52
                                                             Form 1
                                                                                                                                                       Exhibit 8
                                         Individual Estate Property Record and Report                                                                  Page: 7

                                                          Asset Cases
Case No.: 15-40763                                                                           Trustee Name:      (320130) R. Sam Hopkins
Case Name:    ISOM, RALPH DEAN                                                               Date Filed (f) or Converted (c): 11/14/2017 (c)
              I & S FARMS CONSOLIDATED WITH IND BK
                                                                                             § 341(a) Meeting Date:       01/03/2018
For Period Ending:        08/04/2021                                                         Claims Bar Date:      04/03/2018

                                     1                               2                      3                      4                   5                    6

                           Asset Description                      Petition/         Estimated Net Value     Property Formally     Sale/Funds           Asset Fully
                (Scheduled And Unscheduled (u) Property)        Unscheduled        (Value Determined By        Abandoned        Received by the     Administered (FA)/
                                                                   Values                 Trustee,             OA=§554(a)           Estate           Gross Value of
                                                                                  Less Liens, Exemptions,       abandon.                            Remaining Assets
  Ref. #                                                                             and Other Costs)

   64       REEFER USED FOR STORAGE - I&S                                500.00                   500.00                                     0.00                        FA
            FARMS

   65       1997 PRIEFERT CALF TABLE - I&S                               100.00                   100.00                                     0.00                        FA
            FARMS
            AMENDED DKT#85

   66       2002 SUPREME 900T TMR FEED                               4,000.00                   4,000.00                               7,875.00                          FA
            MIXER 90333- I&S FARMS
            AMENDED DKT 85

   67       1977 FORD PICKUP - I&S FARMS                             1,000.00                   1,000.00                                     0.00                        FA
            AMENDED DKT85

   68       US BANK DIP ACCT #7241 (u)                               1,081.35                   1,081.35                                     0.00                        FA
            02/27/2018 (AWILLIAMS) rcvd @ 341
            -US Bank Estate of Paula Isom Ralph Isom DIP acct
            #7241 stmt 1/1/17-12/29/17
            --BAL Date OF Conversion $1081.35
            --WD on date of conversion for $503.95
            --Visa Debit purchase on day after conversion to
            Bridgespan for $1007.86
            --deposited $1100 on 12/4 & $230 on 12/19... then
            spent

   69       MISC YARD EQUIPMENT/SUPPLIES (u)                               0.00                      0.00                              4,482.50                          FA

   70       MISC TOOLS & SUPPLIES                                          0.00                      0.00                              3,069.00                          FA

   71       MISC FARM EQUIPMENT & SUPPLIES                                 0.00                      0.00                              8,121.00                          FA
            (u)

   72       MISC AUTO PARTS & SUPPLIES (u)                                 0.00                      0.00                              6,440.50                          FA

   73       66 FORD MUSTANG COUP BLUE (u)                            3,500.00                   3,500.00                               3,675.00                          FA

   74       1965 FORD MUSTANG COUPE RED (u)                          3,200.00                   3,200.00                               3,360.00                          FA

   75       2008 GMC SIERRA 1500 VIN 0885 (u)                        4,000.00                   4,000.00                               4,200.00                          FA

   76       2006 GMC SIERRA 1500 VIN 3800 (u)                        2,000.00                   2,000.00                               2,200.00                          FA

   77       1977 DODGE W30 (u)                                       1,000.00                   1,000.00                               1,100.00                          FA

   78       79 JD 950 TRACTOR SN 4788 (u)                            3,500.00                   3,500.00                               3,675.00                          FA

   79       1936 JD TRACTOR SN 5939 (u)                                  400.00                   400.00                                   440.00                        FA

   80       1946 JD TRACTOR SN 3658 (u)                                  700.00                   700.00                                   770.00                        FA

   81       NEW HOLLAND HW325 SN 8131 (u)                            6,000.00                   6,000.00                               6,300.00                          FA

   82       JD WORSKITE PRO TR36 TRENCHER                            2,600.00                   2,600.00                               2,730.00                          FA
            (u)

   83       NISSAN 257H PROPANE FORKLIFT SN                              950.00                   950.00                               1,045.00                          FA
            1140 (u)



UST Form 101-7-TDR ( 10 /1/2010)
                 Case 15-40763-JDP                              Doc 1000             Filed 08/11/21 Entered 08/11/21 10:21:18                               Desc
                                                                                      Page 21 of 52
                                                                Form 1
                                                                                                                                                               Exhibit 8
                                            Individual Estate Property Record and Report                                                                       Page: 8

                                                             Asset Cases
Case No.: 15-40763                                                                                  Trustee Name:      (320130) R. Sam Hopkins
Case Name:    ISOM, RALPH DEAN                                                                      Date Filed (f) or Converted (c): 11/14/2017 (c)
              I & S FARMS CONSOLIDATED WITH IND BK
                                                                                                    § 341(a) Meeting Date:       01/03/2018
For Period Ending:         08/04/2021                                                               Claims Bar Date:      04/03/2018

                                       1                                    2                      3                      4                    5                    6

                           Asset Description                             Petition/         Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)               Unscheduled        (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                                          Values                 Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                                         Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                                    and Other Costs)

   84       1986 FORD 8000 W/ FARM BED SN                                   6,500.00                    6,500.00                               6,825.00                          FA
            2167 (u)

   85       TY-CROP SILAGE TRUCK BED TRLR                                 10,000.00                    10,000.00                              10,500.00                          FA
            W/ HYDRAULIC HOOKUPS (u)

   86       1995 LUFKIN DROP DECK TRLR SN                                   6,500.00                    6,500.00                               6,825.00                          FA
            7683 (u)

   87       FLAT BED TRLR W/ RAMPS,                                         2,600.00                    2,600.00                               2,730.00                          FA
            DOVETAIL,TANDEM AXLE (u)

   88       1958 FRUEHAUF DOLLY TRLR                                            350.00                   350.00                                    385.00                        FA
            CONVERTER SN 5068 (u)

   89       CENTER PIVOT, SPRINKLER SYSTEM,                               27,500.00                    27,500.00                              28,875.00                          FA
            PIPE LINE, APPROX 1300 FT,
            CONTROL PANEL, ETC. (u)

   90       JD 16FT FINISHING DISC SN 1076 (u)                              1,300.00                    1,300.00                               1,430.00                          FA

   91       ROLLER HARROW WITH A                                            3,400.00                    3,400.00                               3,570.00                          FA
            INTERNATIONAL GRASS DRILL (u)

   92       ARTIC CAT EL TIGRE SN 6376 (u)                                      450.00                   450.00                                    467.50                        FA

   93       1971 CHEVY MALIBU VIN 7459 (u)                                  4,800.00                    4,800.00                               5,040.00                          FA

   94       1979 GMC GRAIN TRUCK VIN 8988 (u)                               1,050.00                    1,050.00                               1,155.00                          FA

   95       1977 FORD F250 VIN 3174 (u)                                     1,600.00                    1,600.00                               1,760.00                          FA

   96       1990 FARMBED MFE EAGLE BRIDGE                                   4,600.00                    4,600.00                               4,830.00                          FA
            TRLR VIN 1179 (u)

   97       1991 JD 310 D TURBO BACKHOE SN                                16,750.00                    16,750.00                              17,587.50                          FA
            6608 (u)

   98       PAYMENT FROM BRETT JENSEN                                       9,500.00                    9,500.00                               9,500.00                          FA
            FARMS RCVD BY D 8/1/17 (u)

   99       SEE ATTACHED LIST OF PERSONAL                                149,540.00                         0.00                                     0.00                        FA
            PROPERTY (u)
            NO CONSEQUENCE TO ESTATE. ITEMS ON LIST
            WERE ALREADY ACCOUNTED FOR ABOVE WHEN
            SOLD AT AUCTION AND FUNDS DEPOSITED.

            01/28/2019 (AWILLIAMS) dkt#738 amended sch B
            -see attached list of personal property DV$149,540------
            ---------COPIED PT CONSIGNOR STMT AND USED
            THAT AS LIST



   100      2120 AIR TUBES FOR POTATO                                       4,290.00                    4,290.00                                     0.00                        FA
            CELLAR (u)
            01/28/2019 (AWILLIAMS) dkt#738 amended sch B
            -2120 air tubes for potato cellar dv$4290




UST Form 101-7-TDR ( 10 /1/2010)
                  Case 15-40763-JDP                              Doc 1000             Filed 08/11/21 Entered 08/11/21 10:21:18                              Desc
                                                                                       Page 22 of 52
                                                                Form 1
                                                                                                                                                               Exhibit 8
                                            Individual Estate Property Record and Report                                                                       Page: 9

                                                             Asset Cases
Case No.: 15-40763                                                                                   Trustee Name:      (320130) R. Sam Hopkins
Case Name:    ISOM, RALPH DEAN                                                                       Date Filed (f) or Converted (c): 11/14/2017 (c)
              I & S FARMS CONSOLIDATED WITH IND BK
                                                                                                     § 341(a) Meeting Date:       01/03/2018
For Period Ending:         08/04/2021                                                                Claims Bar Date:      04/03/2018

                                       1                                     2                      3                      4                   5                    6

                           Asset Description                              Petition/         Estimated Net Value     Property Formally     Sale/Funds           Asset Fully
                (Scheduled And Unscheduled (u) Property)                Unscheduled        (Value Determined By        Abandoned        Received by the     Administered (FA)/
                                                                           Values                 Trustee,             OA=§554(a)           Estate           Gross Value of
                                                                                          Less Liens, Exemptions,       abandon.                            Remaining Assets
  Ref. #                                                                                     and Other Costs)

   101      102 CONCRETE BARRIER BLOCKS AT                                   5,100.00                    5,100.00                                    0.00                        FA
            $50 EACH (u)
            01/28/2019 (AWILLIAMS) dkt#738 amended sch B
            -102 concrete barrier blocks at $50 each dv$5100


   102      72 LINES @ 32 1/2 PIPES PER LINE (u)                          360,360.00                 360,360.00                                      0.00                        FA
            01/28/2019 (AWILLIAMS) dkt#738 amended sch B
            -72 lines @ 32 1/2 pipes per line (valued @ 5,000.00
            per line) (There is also rent due of $50,400.00 per year
            for 4 years for a total of $201,600.00 for use post-
            petition of the hand lines) DV$360,360.00



   103      2017 STATE REFUNDS (u)                                               200.00                   200.00                                   200.00                        FA

   104      1991 WESTERN TRAILER FLATBED                                           0.00                      0.00                              3,360.00                          FA
            45X8 VIN ENDING 2245 (u)

   105      325 RAILROAD TIES (u)                                                  0.00                      0.00                              3,602.50                          FA

   106      APPROX. (100) TON OF "BROWN" HAY                                 2,000.00                        0.00                                    0.00                        FA
            @ 75 T AND APPROX (30) TON OF
            CORN SILAGE &@ 35 T (u)
            DKT#619 ON 2/7/18
            DKT#590 ON 1/11/18

            UNCLEAR IF THIS IS THE SAME HAY AND CORN
            SILAGE LISTED IN ASSETS 35 AND 37

   107      ESTATE OF MAXINE ISO (u)                                        15,000.00                   15,000.00                                    0.00                        FA
            UNDIVIDED 1/20 INTEREST (VALUE IS
            APPROXIMATE
            DKT#182 ON 3/8/16

   108      AN 11 USC 548 CLAIM FOR                                      7,000,000.00              7,000,000.00                             300,000.00                           FA
            FRAUDULANT CONVEYANCE (u)
            DKT#182 ON 3/8/16


  108       Assets Totals (Excluding unknown values)                   $26,879,889.39           $20,388,151.44                          $1,335,905.00                      $0.00




UST Form 101-7-TDR ( 10 /1/2010)
               Case 15-40763-JDP               Doc 1000       Filed 08/11/21 Entered 08/11/21 10:21:18                        Desc
                                                               Page 23 of 52
                                                        Form 1
                                                                                                                                 Exhibit 8
                                    Individual Estate Property Record and Report                                                 Page: 10

                                                     Asset Cases
Case No.: 15-40763                                                          Trustee Name:      (320130) R. Sam Hopkins
Case Name:    ISOM, RALPH DEAN                                              Date Filed (f) or Converted (c): 11/14/2017 (c)
              I & S FARMS CONSOLIDATED WITH IND BK
                                                                            § 341(a) Meeting Date:    01/03/2018
For Period Ending:     08/04/2021                                           Claims Bar Date:     04/03/2018



 Major Activities Affecting Case Closing:

                            05/06/2021 (AWILLIAMS) TC fr Brad Hall re checks. they no longer are at the American Way location that we
                            sent the checks to. Wondering if we get back if we can


                            04/29/2021 (AWILLIAMS) dkt#999 Order of Distribution for R Sam Hopkins, Trustee Chapter 7, Fees
                            awarded: $8663.81, Expenses awarded: $182.90; Awarded on 4/28/2021 Signed on 4/28/2021 (RE: related
                            document(s)[994] UST Filing - Trustee's Final Report (TFR)). (kll)

                            03/30/2021 (AWILLIAMS) Chapter 7 Trustee's Notice of Final Report and Application for Compensation Filed
                            by Trustee R Sam Hopkins (RE: related document(s)[994] Chapter 7 Trustee's Final Report filed on behalf of
                            Trustee. The United States Trustee has reviewed the Chapter 7 Trustee's Final Report. Filed by US
                            Trustee.). (Hopkins, R--obj by 4/26/21

                            03/29/2021 (AWILLIAMS) Chapter 7 Trustee's Final Report filed on behalf of Trustee. The United States
                            Trustee has reviewed the Chapter 7 Trustee's Final Report. Filed by US Trustee. (Fleener, Debora)

                            FINAL




 Initial Projected Date Of Final Report (TFR): 12/31/2018           Current Projected Date Of Final Report (TFR):   02/17/2021 (Actual)


                     08/04/2021                                                 /s/R. Sam Hopkins
                        Date                                                    R. Sam Hopkins




UST Form 101-7-TDR ( 10 /1/2010)
                     Case 15-40763-JDP                 Doc 1000          Filed 08/11/21 Entered 08/11/21 10:21:18                                      Desc
                                                                          Page 24 of 52
                                                               Form 2                                                                                 Exhibit 9
                                                                                                                                                      Page: 1
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                        Trustee Name:                       R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                                Bank Name:                          Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND               Account #:                          ******2000 Checking
                        BK                                              Blanket Bond (per case limit):      $51,601,059.00
Taxpayer ID #:          **-***8494                                      Separate Bond (if applicable):      N/A
For Period Ending:      08/04/2021
    1            2                      3                                       4                                  5                     6                        7

  Trans.    Check or         Paid To / Received From        Description of Transaction          Uniform       Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                            Tran. Code       $                        $

 01/08/18     {3}      AMANDA LOVELL                    january rent on 159 n 55 w             1110-000                500.00                                          500.00
 01/31/18              Rabobank, N.A.                   Bank and Technology Services           2600-000                                       10.00                    490.00
                                                        Fees
 02/05/18     {3}      AMANDA LOVELL                    february rent                          1110-000                500.00                                          990.00
 02/28/18              Rabobank, N.A.                   Bank and Technology Services           2600-000                                       10.00                    980.00
                                                        Fees
 03/02/18     {3}      AMANDA LOVELL                    march rent pmt on 159 n 55 w           1110-000                500.00                                         1,480.00
 03/13/18              PRIME TIME AUCTIONS              SALE OF ASSETS AT MARCH                                   900,807.55                                      902,287.55
                                                        2018 AUCTION
              {30}     PT                               BP QUINCY UPRIGHT AIR                  1129-000
                                                        COMPRESSOR
                                                                                      $75.00
              {38}     PT                               SALE OF SPRAYER-TANK ON                1129-000
                                                        CART
                                                                                      $90.00
              {38}     PT                               BP SPRAYER-TANK ON CART                1129-000
                                                                                       $9.00
              {69}     PT                               SALE OF JD SNOW BLOWER                 1229-000
                                                                                     $375.00
              {69}     PT                               BP JD SNOW BLOWER                      1229-000
                                                                                      $37.50
              {69}     PT                               SALE OF TORO ROTOTILLER                1229-000
                                                                                     $275.00
              {69}     PT                               BP TORO ROTOTILLER                     1229-000
                                                                                      $27.50
              {71}     PT                               SALE OF 3 POINT HITCH                  1229-000
                                                        PULVERATOR
                                                                                     $350.00
              {71}     PT                               BP 3 POINT HITCH                       1229-000
                                                        PULVERATOR
                                                                                      $35.00
              {70}     PT                               SALE OF ELECTRIC WIRE                  1229-000
                                                        SPOOLS
                                                                                     $210.00
              {70}     PT                               BP ELECTRIC WIRE SPOOLS                1229-000
                                                                                      $21.00
              {71}     PT                               SALE OF TRACTOR FORK                   1229-000
                                                        ATTACHMENT
                                                                                     $150.00
              {71}     PT                               BP TRACTOR FORK                        1229-000
                                                        ATTACHMENT
                                                                                      $15.00
              {69}     PT                               SALE LANDSCAPING FABRIC                1229-000
                                                                                $2,000.00
              {69}     PT                               BP LANDSCAPING FABRIC                  1229-000
                                                                                     $200.00

                                                                                          Page Subtotals:    $902,307.55                     $20.00


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                                 ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000        Filed 08/11/21 Entered 08/11/21 10:21:18                                   Desc
                                                                        Page 25 of 52
                                                               Form 2                                                                            Exhibit 9
                                                                                                                                                 Page: 2
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                       Trustee Name:                      R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                               Bank Name:                         Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND              Account #:                         ******2000 Checking
                        BK                                             Blanket Bond (per case limit):     $51,601,059.00
Taxpayer ID #:          **-***8494                                     Separate Bond (if applicable):     N/A
For Period Ending:      08/04/2021
    1            2                     3                                       4                                5                    6                       7

  Trans.    Check or         Paid To / Received From       Description of Transaction         Uniform       Deposit            Disbursement        Account Balance
   Date      Ref. #                                                                          Tran. Code       $                      $

              {30}     PT                               SALE INGERSOLL RAND AIR              1129-000
                                                        COMPRESSOR
                                                                               $3,300.00
              {30}     PT                               BP INGERSOLL RAND AIR                1129-000
                                                        COMPRESSOR
                                                                                   $165.00
              {69}     PT                               SALE BUHLER SNOW BLOWER              1229-000
                                                                                   $950.00
              {69}     PT                               BP BUHLER SNOW BLOWER                1229-000
                                                                                    $95.00
              {45}     PT                               SALE 2 FUEL TANKS                    1129-000
                                                                                   $300.00
              {45}     PT                               BP 2 FUEL TANKS                      1129-000
                                                                                    $30.00
              {13}     PT                               SALE TORO RIDING LAWN                1129-000
                                                        MOWER
                                                                               $2,900.00
              {13}     PT                               BP TORO RIDING LAWN                  1129-000
                                                        MOWER
                                                                                   $145.00
              {38}     PT                               SALE TRACTOR TILLER                  1129-000
                                                        ATTACHMENT
                                                                                   $625.00
              {38}     PT                               BP TRACTOR TILLER                    1129-000
                                                        ATTACHMENT
                                                                                    $62.50
              {69}     PT                               SALE TREE BASKETS                    1229-000
                                                                                   $475.00
              {69}     PT                               BP TREE BASKETS                      1229-000
                                                                                    $47.50
              {71}     PT                               SALE LOWBUCK NOTCHER                 1229-000
                                                                                    $60.00
              {71}     PT                               BP LOWBUCK NOTCHER                   1229-000
                                                                                     $6.00
              {70}     pt                               SALE GROUND WIRE                     1229-000
                                                                                    $80.00
              {70}     PT                               BP GROUND WIRE                       1229-000
                                                                                     $8.00
              {30}     PT                               SALE PACIFIC 8 GAL AIR               1129-000
                                                        COMPRESSOR
                                                                                   $200.00
              {30}     PT                               BP PACIFIC 8 GAL AIR                 1129-000
                                                        COMPRESSOR
                                                                                    $20.00



                                                                                        Page Subtotals:             $0.00                $0.00


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000         Filed 08/11/21 Entered 08/11/21 10:21:18                                  Desc
                                                                         Page 26 of 52
                                                               Form 2                                                                            Exhibit 9
                                                                                                                                                 Page: 3
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                        Trustee Name:                     R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                                Bank Name:                        Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND               Account #:                        ******2000 Checking
                        BK                                              Blanket Bond (per case limit):    $51,601,059.00
Taxpayer ID #:          **-***8494                                      Separate Bond (if applicable):    N/A
For Period Ending:      08/04/2021
    1            2                     3                                       4                                5                    6                       7

  Trans.    Check or         Paid To / Received From       Description of Transaction         Uniform       Deposit            Disbursement        Account Balance
   Date      Ref. #                                                                          Tran. Code       $                      $

              {70}     PT                               SALE SAND BLASTER                    1229-000
                                                                                   $400.00
              {70}     PT                               BP SAND BLASTER                      1229-000
                                                                                    $40.00
              {70}     PT                               SALE GRANDY APPLICATOR               1229-000
                                                                                    $10.00
              {70}     PT                               BP GRANDY APPLICATOR                 1229-000
                                                                                     $1.00
              {70}     PT                               SALE WORK TABLE                      1229-000
                                                                                   $550.00
              {70}     PT                               BP WORK TABLE                        1229-000
                                                                                    $55.00
              {71}     PT                               SALE STEEL PIPE                      1229-000
                                                                                    $60.00
              {71}     PT                               BP STEEL PIPE                        1229-000
                                                                                     $6.00
              {50}     PT                               SALE ANGLE IRON                      1129-000
                                                                                   $110.00
              {50}     PT                               BP ANGLE IRON                        1129-000
                                                                                    $11.00
              {70}     PT                               SALE PALLET W/ BUCKET                1229-000
                                                        TOOLS, SEALS, PARTS
                                                                                    $90.00
              {70}     PT                               BP PALLET W/ BUCKET TOOLS,           1229-000
                                                        SEALS, PARTS
                                                                                     $9.00
              {70}     PT                               SALE ELECTRICAL BOXES                1229-000
                                                                                    $45.00
              {70}     PT                               BP ELECTRICAL BOXES                  1229-000
                                                                                     $4.50
              {28}     PT                               SALE 05 HONDA RANCHER                1129-000
                                                                                   $800.00
              {28}     PT                               BP 05 HONDA RANCHER                  1129-000
                                                                                    $80.00
              {28}     PT                               SALE 02 HONDA RANCHER                1129-000
                                                                                   $800.00
              {28}     PT                               BP 02 HONDA RANCHER                  1129-000
                                                                                    $80.00
              {28}     PT                               SALE 06 HONDA RANCHER                1129-000
                                                                                   $850.00
              {28}     PT                               BP 06 HONDA RANCHER                  1129-000
                                                                                    $85.00


                                                                                        Page Subtotals:             $0.00                $0.00


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000        Filed 08/11/21 Entered 08/11/21 10:21:18                                   Desc
                                                                        Page 27 of 52
                                                               Form 2                                                                            Exhibit 9
                                                                                                                                                 Page: 4
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                       Trustee Name:                      R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                               Bank Name:                         Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND              Account #:                         ******2000 Checking
                        BK                                             Blanket Bond (per case limit):     $51,601,059.00
Taxpayer ID #:          **-***8494                                     Separate Bond (if applicable):     N/A
For Period Ending:      08/04/2021
    1            2                     3                                       4                                5                    6                       7

  Trans.    Check or         Paid To / Received From       Description of Transaction         Uniform       Deposit            Disbursement        Account Balance
   Date      Ref. #                                                                          Tran. Code       $                      $

              {28}     PT                               SALE 06 PONTIAC SOLSTICE             1129-000
                                                                              $10,000.00
              {28}     PT                               BP 06 PONTIAC SOLSTICE               1129-000
                                                                                   $500.00
              {28}     PT                               SALE OF 02 PONTIAC                   1129-000
                                                        FIREHAWK
                                                                              $13,000.00
              {28}     PT                               BP 02 PONTIAC FIREHAWK               1129-000
                                                                                   $650.00
              {28}     PT                               SALE 66 FORD MUSTANG                 1129-000
                                                                              $11,000.00
              {28}     PT                               BP 66 FORD MUSTANG                   1129-000
                                                                                   $550.00
              {73}     PT                               SALE OF 66 FORD MUSTANG              1229-000
                                                        BLUE
                                                                               $3,500.00
              {73}     PT                               BP 66 FORD MUSTANG BLUE              1229-000
                                                                                   $175.00
              {74}     PT                               SALE OF 65 FORD MUSTANG              1229-000
                                                        RED
                                                                               $3,200.00
              {74}     PT                               BP 65 FORD MUSTANG RED               1229-000
                                                                                   $160.00
              {28}     PT                               SALE OF 99 JEEP WRANGLER             1129-000
                                                                               $5,900.00
              {28}     PT                               BP 99 JEEP WRANGLER                  1129-000
                                                                                   $295.00
              {75}     PT                               SALE 08 GMC SIERRA 1500 VIN          1229-000
                                                        0885
                                                                               $4,000.00
              {75}     PT                               BP 08 GMC SIERRA 1500 VIN            1229-000
                                                        0885
                                                                                   $200.00
              {76}     PT                               SALE OF 06 GMC SIERRA 1500           1229-000
                                                        VIN 3800
                                                                               $2,000.00
              {76}     PT                               BP 06 GMC SIERRA 1500 VIN            1229-000
                                                        3800
                                                                                   $200.00
              {28}     PT                               SALE 03 GMC SIERRA 1500 VIN          1129-000
                                                        5632
                                                                                   $800.00
              {28}     PT                               BP 03 GMC SIERRA 1500 VIN            1129-000
                                                        5632
                                                                                    $80.00


                                                                                        Page Subtotals:             $0.00                $0.00


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000        Filed 08/11/21 Entered 08/11/21 10:21:18                                   Desc
                                                                        Page 28 of 52
                                                               Form 2                                                                            Exhibit 9
                                                                                                                                                 Page: 5
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                       Trustee Name:                      R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                               Bank Name:                         Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND              Account #:                         ******2000 Checking
                        BK                                             Blanket Bond (per case limit):     $51,601,059.00
Taxpayer ID #:          **-***8494                                     Separate Bond (if applicable):     N/A
For Period Ending:      08/04/2021
    1            2                     3                                       4                                5                    6                       7

  Trans.    Check or         Paid To / Received From       Description of Transaction         Uniform       Deposit            Disbursement        Account Balance
   Date      Ref. #                                                                          Tran. Code       $                      $

              {77}     PT                               SALE 77 DODGE W30                    1229-000
                                                                               $1,000.00
              {77}     PT                               BP 77 DODGE W30                      1229-000
                                                                                   $100.00
              {38}     PT                               SALE 06 NEW HOLLAND                  1129-000
                                                        TRACTOR SN 1332
                                                                              $35,000.00
              {38}     PT                               BP 06 NEW HOLLAND TRACTOR            1129-000
                                                        SN 1332
                                                                               $1,750.00
              {38}     PT                               SALE 02 JD 7810 TRACTOR SN           1129-000
                                                        9694
                                                                              $40,000.00
              {38}     PT                               BP 02 JD 7810 TRACTOR SN             1129-000
                                                        9694
                                                                               $2,000.00
              {38}     PT                               SALE 00 JD 7810 TRACTOR SN           1129-000
                                                        8267
                                                                              $32,000.00
              {38}     PT                               BP 00 JD 7810 TRACTOR SN             1129-000
                                                        8267
                                                                               $1,600.00
              {38}     PT                               SALE 00 NEW HOLLAND TN70D            1129-000
                                                        TRACTOR SN 7917
                                                                              $10,500.00
              {38}     PT                               BP 00 NEW HOLLAND TN70D              1129-000
                                                        TRACTOR SN 7917
                                                                                   $525.00
              {38}     PT                               SALE NEW HOLLAND TC30                1129-000
                                                        UTILITY TRACTOR SN 1603
                                                                               $8,600.00
              {38}     PT                               BP NEW HOLLAND TC30                  1129-000
                                                        UTILITY TRACTOR SN 1603
                                                                                   $430.00
              {38}     PT                               SALE 89 CASE INTL 9180 W             1129-000
                                                        BLADE
                                                                              $25,000.00
              {38}     PT                               BP 89 CASE INTL 9180 W BLADE         1129-000
                                                                               $1,250.00
              {38}     PT                               SALE 85 JD 8650 TRACTOR SN           1129-000
                                                        5740
                                                                               $9,000.00
              {38}     PT                               BP 85 JD 8650 TRACTOR SN             1129-000
                                                        5740
                                                                                   $450.00
              {38}     PT                               SALE 77 JD 4230 TRACTOR SN           1129-000
                                                        692R
                                                                               $5,750.00

                                                                                        Page Subtotals:             $0.00                $0.00


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000        Filed 08/11/21 Entered 08/11/21 10:21:18                                   Desc
                                                                        Page 29 of 52
                                                               Form 2                                                                            Exhibit 9
                                                                                                                                                 Page: 6
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                       Trustee Name:                      R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                               Bank Name:                         Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND              Account #:                         ******2000 Checking
                        BK                                             Blanket Bond (per case limit):     $51,601,059.00
Taxpayer ID #:          **-***8494                                     Separate Bond (if applicable):     N/A
For Period Ending:      08/04/2021
    1            2                     3                                       4                                5                    6                       7

  Trans.    Check or         Paid To / Received From       Description of Transaction         Uniform       Deposit            Disbursement        Account Balance
   Date      Ref. #                                                                          Tran. Code       $                      $

              {38}     PT                               BP 77 JD 4230 TRACTOR SN             1129-000
                                                        692R
                                                                                   $287.50
              {78}     PT                               SALE 79 JD 950 TRACTOR SN            1229-000
                                                        4788
                                                                               $3,500.00
              {78}     PT                               BP 79 JD 950 TRACTOR SN 4788         1229-000
                                                                                   $175.00
              {79}     PT                               SALE 1936 JD TRACTOR SN              1229-000
                                                        5939
                                                                                   $400.00
              {79}     PT                               BP 1936 JD TRACTOR SN 5939           1229-000
                                                                                    $40.00
              {80}     PT                               SALE 1946 JD TRACTOR SN              1229-000
                                                        3658
                                                                                   $700.00
              {80}     PT                               BP 1946 JD TRACTOR SN 3658           1229-000
                                                                                    $70.00
              {38}     PT                               SALE 1969 JD 3020 TRACTOR            1129-000
                                                        SN 340R
                                                                               $3,700.00
              {38}     PT                               BP 1969 JD 3020 TRACTOR SN           1129-000
                                                        340R
                                                                                   $185.00
              {38}     PT                               SALE 1967 JD 4020 TRACTOR            1129-000
                                                        W/ HAY FORKS SN 184R
                                                                               $6,400.00
              {38}     PT                               BP 1967 JD 4020 TRACTOR W/           1129-000
                                                        HAY FORKS SN 184R
                                                                                   $320.00
              {38}     PT                               SALE 1976-1981 INTL 1486             1129-000
                                                        TRACTOR SN 4412
                                                                               $4,800.00
              {38}     PT                               BP 1976-1981 INTL 1486               1129-000
                                                        TRACTOR SN 4412
                                                                                   $240.00
              {38}     PT                               SALE 1976-1981 INTL 1486             1129-000
                                                        TRACTOR SN 3059
                                                                               $3,500.00
              {38}     PT                               BP 1976-1981 INTL 1486               1129-000
                                                        TRACTOR SN 3059
                                                                                   $175.00
              {71}     PT                               SALE 3 POINT HITCH QUICK             1229-000
                                                        ATTACHMENT
                                                                                   $180.00
              {71}     PT                               BP 3 POINT HITCH QUICK               1229-000
                                                        ATTACHMENT
                                                                                    $18.00

                                                                                        Page Subtotals:             $0.00                $0.00


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000        Filed 08/11/21 Entered 08/11/21 10:21:18                                   Desc
                                                                        Page 30 of 52
                                                               Form 2                                                                            Exhibit 9
                                                                                                                                                 Page: 7
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                       Trustee Name:                      R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                               Bank Name:                         Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND              Account #:                         ******2000 Checking
                        BK                                             Blanket Bond (per case limit):     $51,601,059.00
Taxpayer ID #:          **-***8494                                     Separate Bond (if applicable):     N/A
For Period Ending:      08/04/2021
    1            2                     3                                       4                                5                    6                       7

  Trans.    Check or         Paid To / Received From       Description of Transaction         Uniform       Deposit            Disbursement        Account Balance
   Date      Ref. #                                                                          Tran. Code       $                      $

              {38}     PT                               SALE 2005 NEW HOLLAND                1129-000
                                                        COMBINE SN 0036
                                                                              $33,000.00
              {38}     PT                               BP 2005 NEW HOLLAND                  1129-000
                                                        COMBINE SN 0036
                                                                               $1,650.00
              {38}     PT                               SALE 2006 NEW HOLLAND                1129-000
                                                        COMBINE SN 0074
                                                                              $50,000.00
              {38}     PT                               BP 2006 NEW HOLLAND                  1129-000
                                                        COMBINE SN 0074
                                                                               $2,500.00
              {38}     PT                               SALE 2004 NEW HOLLAND                1129-000
                                                        COMBINE W/ 98C CORN
                                                        HEADER SN 1101
                                                                              $28,500.00
              {38}     PT                               BP 2004 NEW HOLLAND                  1129-000
                                                        COMBINE W/ 98C CORN
                                                        HEADER SN 1101
                                                                               $1,425.00
              {38}     PT                               SALE 2006 NEW HOLLAND 94C            1129-000
                                                        GRAIN HEADER
                                                                               $6,200.00
              {38}     PT                               BP 2006 NEW HOLLAND 94C              1129-000
                                                        GRAIN HEADER
                                                                                   $310.00
              {38}     PT                               SALE 1999 CLAAS JAGUAR               1129-000
                                                        FORAGE HARVESTER
                                                                              $13,000.00
              {38}     PT                               BP 1999 CLAAS JAGUAR                 1129-000
                                                        FORAGE HARVESTER
                                                                                   $650.00
              {38}     PT                               SALE 1999 CLAAS 4 ROW CORN           1129-000
                                                        HEADER
                                                                               $1,000.00
              {38}     PT                               BP 1999 CLAAS 4 ROW CORN             1129-000
                                                        HEADER
                                                                                   $100.00
              {38}     PT                               SALE 2006 NEW HOLLAND                1129-000
                                                        SWATHER W/ HEADERS
                                                                               $8,500.00
              {38}     PT                               BP 2006 NEW HOLLAND                  1129-000
                                                        SWATHER W/ HEADERS
                                                                                   $425.00
              {81}     PT                               SALE NEW HOLLAND HW325 SN            1229-000
                                                        8131
                                                                               $6,000.00
              {81}     PT                               BP NEW HOLLAND HW325 SN              1229-000
                                                        8131
                                                                                   $300.00

                                                                                        Page Subtotals:             $0.00                $0.00


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000        Filed 08/11/21 Entered 08/11/21 10:21:18                                   Desc
                                                                        Page 31 of 52
                                                               Form 2                                                                            Exhibit 9
                                                                                                                                                 Page: 8
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                       Trustee Name:                      R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                               Bank Name:                         Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND              Account #:                         ******2000 Checking
                        BK                                             Blanket Bond (per case limit):     $51,601,059.00
Taxpayer ID #:          **-***8494                                     Separate Bond (if applicable):     N/A
For Period Ending:      08/04/2021
    1            2                     3                                       4                                5                    6                       7

  Trans.    Check or         Paid To / Received From       Description of Transaction         Uniform       Deposit            Disbursement        Account Balance
   Date      Ref. #                                                                          Tran. Code       $                      $

              {38}     PT                               SALE 2004 NEW HOLLAND                1129-000
                                                        HW320 SN 0107
                                                                               $7,500.00
              {38}     PT                               BP 2004 NEW HOLLAND HW320            1129-000
                                                        SN 0107
                                                                                   $375.00
              {38}     PT                               SALE 2008 MF HESSTON 2190            1129-000
                                                        BALER W/ ACCUMULATOR SN
                                                        5288
                                                                              $36,000.00
              {38}     PT                               BP 2008 MF HESSTON 2190              1129-000
                                                        BALER W/ ACCUMULATOR SN
                                                        5288
                                                                               $1,800.00
              {38}     PT                               SALE OF 2004 AGCO HESTON             1129-000
                                                        BALER SN 1385
                                                                               $4,500.00
              {38}     PT                               BP 2004 AGCO HESTON BALER            1129-000
                                                        SN 1385
                                                                                   $225.00
              {38}     PT                               SALE 2003 AGCO HESTON                1129-000
                                                        BALER SN 1595
                                                                               $4,000.00
              {38}     PT                               BP 2003 AGCO HESTON BALER            1129-000
                                                        SN 1595
                                                                                   $200.00
              {38}     PT                               SALE 2006 NEW HOLLAND HAY            1129-000
                                                        RAKE SN 0037
                                                                               $2,500.00
              {38}     PT                               BP 2006 NEW HOLLAND HAY              1129-000
                                                        RAKE SN 0037
                                                                                   $250.00
              {38}     PT                               SALE 2006 NEW HOLLAND HAY            1129-000
                                                        RAKE SN 2512
                                                                               $3,100.00
              {38}     PT                               BP 2006 NEW HOLLAND HAY              1129-000
                                                        RAKE SN 2512
                                                                                   $155.00
              {38}     PT                               SALE 1993 UNITED FARM GRAIN          1129-000
                                                        CART SN 3683
                                                                               $7,000.00
              {38}     PT                               BP 1993 UNITED FARM GRAIN            1129-000
                                                        CART SN 3683
                                                                                   $350.00
              {38}     PT                               SALE 1989 CATERPILLAR 966E           1129-000
                                                        LOADER SN 6723
                                                                              $41,000.00
              {38}     PT                               BP 1989 CATERPILLAR 966E             1129-000
                                                        LOADER SN 6723
                                                                               $2,050.00

                                                                                        Page Subtotals:             $0.00                $0.00


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000        Filed 08/11/21 Entered 08/11/21 10:21:18                                   Desc
                                                                        Page 32 of 52
                                                               Form 2                                                                            Exhibit 9
                                                                                                                                                 Page: 9
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                       Trustee Name:                      R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                               Bank Name:                         Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND              Account #:                         ******2000 Checking
                        BK                                             Blanket Bond (per case limit):     $51,601,059.00
Taxpayer ID #:          **-***8494                                     Separate Bond (if applicable):     N/A
For Period Ending:      08/04/2021
    1            2                     3                                       4                                5                    6                       7

  Trans.    Check or         Paid To / Received From       Description of Transaction         Uniform       Deposit            Disbursement        Account Balance
   Date      Ref. #                                                                          Tran. Code       $                      $

              {38}     PT                               SALE 1999 CASE TRACKHOE SN           1129-000
                                                        2678
                                                                              $31,000.00
              {38}     PT                               BP 1999 CASE TRACKHOE SN             1129-000
                                                        2678
                                                                               $1,550.00
              {38}     PT                               SALE CATERPILLAR                     1129-000
                                                        BULLDOZER W/ BLADE SN 2625
                                                                               $2,000.00
              {38}     PT                               BP CATERPILLAR BULLDOZER             1129-000
                                                        W/ BLADE SN 2625
                                                                                   $200.00
              {38}     PT                               SALE 1970S ADAMS GRADER              1129-000
                                                        SN 2732
                                                                               $3,200.00
              {38}     PT                               BP 1970S ADAMS GRADER SN             1129-000
                                                        2732
                                                                                   $160.00
              {38}     PT                               SALE 1992 JCB LOADALL SN             1129-000
                                                        5345
                                                                              $11,000.00
              {38}     PT                               BP 1992 JCB LOADALL SN 5345          1129-000
                                                                                   $550.00
              {38}     PT                               SALE 1999 NEW HOLLAND SKID           1129-000
                                                        STEER SN 0597
                                                                              $13,500.00
              {38}     PT                               BP 1999 NEW HOLLAND SKID             1129-000
                                                        STEER SN 0597
                                                                                   $675.00
              {38}     PT                               SALE DANUSER POSTHOLE                1129-000
                                                        DIGGER W/ AUGERS
                                                                               $2,800.00
              {38}     PT                               BP DANUSER POSTHOLE                  1129-000
                                                        DIGGER W/ AUGERS
                                                                                   $140.00
              {38}     PT                               SALE HORST WELDING ROCK              1129-000
                                                        LOADER ATTACHMENT SN 4246
                                                                               $2,600.00
              {38}     PT                               BP HORST WELDING ROCK                1129-000
                                                        LOADER ATTACHMENT SN 4246
                                                                                   $130.00
              {82}     PT                               SALE JD WORKSITE PRO TR36            1229-000
                                                        TRENCHER
                                                                               $2,600.00
              {82}     PT                               BP JD WORKSITE PRO TR36              1229-000
                                                        TRENCHER
                                                                                   $130.00




                                                                                        Page Subtotals:             $0.00                $0.00


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000        Filed 08/11/21 Entered 08/11/21 10:21:18                                   Desc
                                                                        Page 33 of 52
                                                               Form 2                                                                            Exhibit 9
                                                                                                                                                 Page: 10
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                       Trustee Name:                      R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                               Bank Name:                         Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND              Account #:                         ******2000 Checking
                        BK                                             Blanket Bond (per case limit):     $51,601,059.00
Taxpayer ID #:          **-***8494                                     Separate Bond (if applicable):     N/A
For Period Ending:      08/04/2021
    1            2                     3                                       4                                5                    6                       7

  Trans.    Check or         Paid To / Received From       Description of Transaction         Uniform       Deposit            Disbursement        Account Balance
   Date      Ref. #                                                                          Tran. Code       $                      $

              {38}     PT                               SALE VERMEER TREE SPADE              1129-000
                                                                               $4,300.00
              {38}     PT                               BP VERMEER TREE SPADE                1129-000
                                                                                   $215.00
              {83}     PT                               SALE NISSAN 257H PROPANE             1229-000
                                                        FORKLIFT SN 1140
                                                                                   $950.00
              {83}     PT                               BP NISSAN 257H PROPANE               1229-000
                                                        FORKLIFT SN 1140
                                                                                    $95.00
              {38}     PT                               SALE 2001 NEW HOLLAND                1129-000
                                                        TELEHANDLER SN 1014
                                                                               $2,000.00
              {38}     PT                               BP 2001 NEW HOLLAND                  1129-000
                                                        TELEHANDLER SN 1014
                                                                                   $200.00
              {28}     PT                               SALE 1996 KENWORTH SN 4470           1129-000
                                                                               $7,250.00
              {28}     PT                               BP 1996 KENWORTH SN 4470             1129-000
                                                                                   $362.50
              {28}     PT                               SALE 1996 KENWORTH SN 4475           1129-000
                                                                               $7,750.00
              {28}     PT                               BP 1996 KENWORTH SN 4475             1129-000
                                                                                   $387.50
              {28}     PT                               SALE 1996 KENWORTH SN 4473           1129-000
                                                                               $9,000.00
              {28}     PT                               BP 1996 KENWORTH SN 4473             1129-000
                                                                                   $450.00
              {28}     PT                               SALE 1994 KENWORTH SN 5084           1129-000
                                                                               $6,750.00
              {28}     PT                               BP 1994 KENWORTH SN 5084             1129-000
                                                                                   $337.50
              {28}     PT                               SALE 1994 KENWORTH SN 5083           1129-000
                                                                               $6,000.00
              {28}     PT                               BP 1994 KENWORTH SN 5083             1129-000
                                                                                   $300.00
              {28}     PT                               SALE 1992 PTRB SN 9567               1129-000
                                                                               $9,000.00
              {28}     PT                               BP 1992 PTRB SN 9567                 1129-000
                                                                                   $450.00
              {28}     PT                               SALE 1985 KW SN 4991                 1129-000
                                                                               $3,500.00




                                                                                        Page Subtotals:             $0.00                $0.00


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000        Filed 08/11/21 Entered 08/11/21 10:21:18                                   Desc
                                                                        Page 34 of 52
                                                               Form 2                                                                            Exhibit 9
                                                                                                                                                 Page: 11
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                       Trustee Name:                      R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                               Bank Name:                         Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND              Account #:                         ******2000 Checking
                        BK                                             Blanket Bond (per case limit):     $51,601,059.00
Taxpayer ID #:          **-***8494                                     Separate Bond (if applicable):     N/A
For Period Ending:      08/04/2021
    1            2                     3                                       4                                5                    6                       7

  Trans.    Check or         Paid To / Received From       Description of Transaction         Uniform       Deposit            Disbursement        Account Balance
   Date      Ref. #                                                                          Tran. Code       $                      $

              {28}     PT                               BP 1985 KW SN 4991                   1129-000
                                                                                   $175.00
              {28}     PT                               SALE 1992 KW SN 9143                 1129-000
                                                                               $5,000.00
              {28}     PT                               BP 1992 KW SN 9143                   1129-000
                                                                                   $250.00
              {28}     PT                               SALE 1989 KW SN 5238                 1129-000
                                                                               $5,000.00
              {28}     PT                               BP 1989 KW SN 5238                   1129-000
                                                                                   $250.00
              {84}     PT                               SALE 1986 FORD 8000 W/ FARM          1229-000
                                                        BED SN 2167
                                                                               $6,500.00
              {84}     PT                               BP 1986 FORD 8000 W/ FARM            1229-000
                                                        BED SN 2167
                                                                                   $325.00
              {28}     PT                               SALE 1985 FORD LN 8000 &             1129-000
                                                        SPCN GOOSENECK ROLLBACK
                                                        SN 1364
                                                                               $9,500.00
              {28}     PT                               BP 1985 FORD LN 8000 & SPCN          1129-000
                                                        GOOSENECK ROLLBACK SN
                                                        1364
                                                                                   $475.00
              {28}     PT                               SALE 1986 FORD 8000 GRAIN            1129-000
                                                        TK
                                                                               $5,500.00
              {28}     PT                               BP 1986 FORD 8000 GRAIN TK           1129-000
                                                        SN 0196
                                                                                   $275.00
              {28}     PT                               SALE 1979 GMC BRIGADIER              1129-000
                                                        GRAIN TK SN 9535
                                                                               $3,500.00
              {28}     PT                               BP 1979 GMC BRIGADIER                1129-000
                                                        GRAIN TK SN 9535
                                                                                   $175.00
              {28}     PT                               SALE 1988 KW SN 4806                 1129-000
                                                                               $2,200.00
              {28}     PT                               BP 1988 KW SN 4806                   1129-000
                                                                                   $220.00
              {28}     PT                               SALE ARMY TK W/ BED                  1129-000
                                                                               $4,200.00
              {28}     PT                               BP ARMY TK W/ BED                    1129-000
                                                                                   $210.00
              {28}     PT                               SALE 1991 FARM BED BULK              1129-000
                                                        TRLR SN 1297
                                                                               $7,000.00
                                                                                        Page Subtotals:             $0.00                $0.00


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000        Filed 08/11/21 Entered 08/11/21 10:21:18                                   Desc
                                                                        Page 35 of 52
                                                               Form 2                                                                            Exhibit 9
                                                                                                                                                 Page: 12
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                       Trustee Name:                      R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                               Bank Name:                         Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND              Account #:                         ******2000 Checking
                        BK                                             Blanket Bond (per case limit):     $51,601,059.00
Taxpayer ID #:          **-***8494                                     Separate Bond (if applicable):     N/A
For Period Ending:      08/04/2021
    1            2                     3                                       4                                5                    6                       7

  Trans.    Check or         Paid To / Received From       Description of Transaction         Uniform       Deposit            Disbursement        Account Balance
   Date      Ref. #                                                                          Tran. Code       $                      $

              {28}     PT                               BP 1991 FARM BED BULK TRLR           1129-000
                                                        SN 1297
                                                                                   $350.00
              {28}     PT                               SALE 1985 WESTERN TRLR SN            1129-000
                                                        2190
                                                                               $2,500.00
              {28}     PT                               BP 1985 WESTERN TRLR SN              1129-000
                                                        2190
                                                                                   $250.00
              {28}     PT                               SALE 2006 PARMA SILAGE               1129-000
                                                        TRLR SN 9093
                                                                              $30,000.00
              {28}     PT                               BP 2006 PARMA SILAGE TRLR            1129-000
                                                        SN 9093
                                                                               $1,500.00
              {85}     PT                               SALE TY-CROP SILAGE TRUCK            1229-000
                                                        BED TRLR W/ HYDRAULIC
                                                        HOOKUPS
                                                                              $10,000.00
              {85}     PT                               BP TY-CROP SILAGE TRUCK              1229-000
                                                        BED TRLR W/ HYDRAULIC
                                                        HOOKUPS
                                                                                   $500.00
              {28}     PT                               SALE 1995 WITZCO TRLR SN             1129-000
                                                        1265
                                                                              $11,000.00
              {28}     PT                               BP 1995 WITZCO TRLR SN 1265          1129-000
                                                                                   $550.00
              {86}     PT                               SALE 1995 LUFKIN DROP DECK           1229-000
                                                        TRLR SN 7683
                                                                               $6,500.00
              {86}     PT                               BP 1995 LUFKIN DROP DECK             1229-000
                                                        TRLR SN 7683
                                                                                   $325.00
              {28}     PT                               SALE OF 1995 ROADS SYSTEMS           1129-000
                                                        VAN SN 0132
                                                                               $1,700.00
              {28}     PT                               BP 1995 ROADS SYSTEMS VAN            1129-000
                                                        SN 0132
                                                                                   $170.00
              {28}     PT                               SALE 1994 ROAD SYSTEMS VAN           1129-000
                                                        TRLR SN 1060
                                                                                   $700.00
              {28}     PT                               BP 1994 ROAD SYSTEMS VAN             1129-000
                                                        TRLR SN 1060
                                                                                    $70.00
              {59}     PT                               SALE 1980 TIMP TRLR SN 0077          1129-000
                                                                               $2,500.00



                                                                                        Page Subtotals:             $0.00                $0.00


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000        Filed 08/11/21 Entered 08/11/21 10:21:18                                   Desc
                                                                        Page 36 of 52
                                                               Form 2                                                                            Exhibit 9
                                                                                                                                                 Page: 13
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                       Trustee Name:                      R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                               Bank Name:                         Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND              Account #:                         ******2000 Checking
                        BK                                             Blanket Bond (per case limit):     $51,601,059.00
Taxpayer ID #:          **-***8494                                     Separate Bond (if applicable):     N/A
For Period Ending:      08/04/2021
    1            2                     3                                       4                                5                    6                       7

  Trans.    Check or         Paid To / Received From       Description of Transaction         Uniform       Deposit            Disbursement        Account Balance
   Date      Ref. #                                                                          Tran. Code       $                      $

              {59}     PT                               BP 1980 TIMP TRLR SN 0077            1129-000
                                                                                   $250.00
              {38}     PT                               SALE 1976 UTILITY TRLR               1129-000
                                                        PRINTLE PUP
                                                                               $5,250.00
              {38}     PT                               BP 1976 UTILITY TRLR PRINTLE         1129-000
                                                        PUP
                                                                                   $262.50
              {58}     PT                               SALE 2008 CIRCLE D TRLR SN           1129-000
                                                        3238
                                                                               $6,500.00
              {58}     PT                               BP 2008 CIRCLE D TRLR SN             1129-000
                                                        3238
                                                                                   $325.00
              {87}     PT                               SALE FLAT BED TRLR W/                1229-000
                                                        RAMPS, DOVETAIL, TANDEM
                                                        AXLE
                                                                               $2,600.00
              {87}     PT                               BP FLAT BED TRLR W/ RAMPS,           1229-000
                                                        DOVETAIL, TANDEM AXLE
                                                                                   $130.00
              {88}     PT                               SALE 1958 FRUEHAUF DOLLY             1229-000
                                                        TRLR CONVERTER SN 5068
                                                                                   $350.00
              {88}     PT                               BP 1958 FRUEHAUF DOLLY               1229-000
                                                        TRLR CONVERTER SN 5068
                                                                                    $35.00
              {38}     PT                               SALE POTATO CONVEYOR                 1129-000
                                                        TRANSPORT TRLR
                                                                                   $800.00
              {38}     PT                               BP POTATO CONVEYOR                   1129-000
                                                        TRANSPORT TRLR
                                                                                    $80.00
              {38}     PT                               SALE METAL SHOP BUILT PIPE           1129-000
                                                        TRLR
                                                                                   $400.00
              {38}     PT                               BP METAL SHOP BUILT PIPE             1129-000
                                                        TRLR
                                                                                    $40.00
              {38}     PT                               SALE GREEN SHOP BUILT PIPE           1129-000
                                                        TRLR
                                                                                   $750.00
              {38}     PT                               BP GREEN SHOP BUILT PIPE             1129-000
                                                        TRLR
                                                                                    $75.00
              {70}     PT                               SALE TRLR W/ HOBART                  1229-000
                                                        WELDER/GENERATOR
                                                                               $1,000.00



                                                                                        Page Subtotals:             $0.00                $0.00


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000        Filed 08/11/21 Entered 08/11/21 10:21:18                                   Desc
                                                                        Page 37 of 52
                                                               Form 2                                                                            Exhibit 9
                                                                                                                                                 Page: 14
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                       Trustee Name:                      R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                               Bank Name:                         Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND              Account #:                         ******2000 Checking
                        BK                                             Blanket Bond (per case limit):     $51,601,059.00
Taxpayer ID #:          **-***8494                                     Separate Bond (if applicable):     N/A
For Period Ending:      08/04/2021
    1            2                     3                                       4                                5                    6                       7

  Trans.    Check or         Paid To / Received From       Description of Transaction         Uniform       Deposit            Disbursement        Account Balance
   Date      Ref. #                                                                          Tran. Code       $                      $

              {70}     PT                               BP TRLR W/ HOBART                    1229-000
                                                        WELDER/GENERATOR
                                                                                   $100.00
              {72}     PT                               SALE TRUCKBED STORAGE                1229-000
                                                        CONTAINER
                                                                                   $500.00
              {72}     PT                               BP TRUCKBED STORAGE                  1229-000
                                                        CONTAINER
                                                                                    $50.00
              {89}     PT                               SALE CENTER PIVOT,                   1229-000
                                                        SPRINKLER SYSTEM, PIPE
                                                        LINE, APPROX 1300 FT,
                                                        CONTROL PANEL, ETC.
                                                                              $27,500.00
              {89}     PT                               BP CENTER PIVOT, SPRINKLER           1229-000
                                                        SYSTEM, PIPE LINE, APPROX
                                                        1300 FT, CONTROL PANEL, ETC.
                                                                               $1,375.00
              {66}     PT                               SALE 2002 SUPREME FEED               1129-000
                                                        MIXER
                                                                               $7,500.00
              {66}     PT                               BP 2002 SUPREME FEED MIXER           1129-000
                                                                                   $375.00
              {38}     PT                               SALE GEHL FEED MIXER SN              1129-000
                                                        3330
                                                                               $1,500.00
              {38}     PT                               BP GEHL FEED MIXER SN 3330           1129-000
                                                                                   $150.00
              {38}     PT                               SALE 43 FEED WAGONS                  1129-000
                                                                              $12,250.00
              {38}     PT                               BP 43 FEED WAGONS                    1129-000
                                                                                   $612.50
              {38}     PT                               SALE 2008 KELLO BILT SN 1339         1129-000
                                                                              $20,000.00
              {38}     PT                               BP 2008 KELLO BILT SN 1339           1129-000
                                                                               $1,000.00
              {38}     PT                               SALE JD 685 CHISEL PLOW SN           1129-000
                                                        0307
                                                                               $8,000.00
              {38}     PT                               BP JD 685 CHISEL PLOW SN             1129-000
                                                        0307
                                                                                   $400.00
              {90}     PT                               SALE JD 16FT FINISHING DISC          1229-000
                                                        SN 1076
                                                                               $1,300.00
              {90}     PT                               BP JD 16FT FINISHING DISC SN         1229-000
                                                        1076
                                                                                   $130.00

                                                                                        Page Subtotals:             $0.00                $0.00


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000        Filed 08/11/21 Entered 08/11/21 10:21:18                                   Desc
                                                                        Page 38 of 52
                                                               Form 2                                                                            Exhibit 9
                                                                                                                                                 Page: 15
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                       Trustee Name:                      R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                               Bank Name:                         Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND              Account #:                         ******2000 Checking
                        BK                                             Blanket Bond (per case limit):     $51,601,059.00
Taxpayer ID #:          **-***8494                                     Separate Bond (if applicable):     N/A
For Period Ending:      08/04/2021
    1            2                     3                                       4                                5                    6                       7

  Trans.    Check or         Paid To / Received From       Description of Transaction         Uniform       Deposit            Disbursement        Account Balance
   Date      Ref. #                                                                          Tran. Code       $                      $

              {71}     PT                               SALE OFFSET DISC SET                 1229-000
                                                                                   $225.00
              {71}     PT                               BP OFFSET DISC SET                   1229-000
                                                                                    $22.50
              {38}     PT                               SALE 2003 SUMMERS MFG                1129-000
                                                        SUPER WEEDER HARROW SN
                                                        0393
                                                                               $4,600.00
              {38}     PT                               BP 2003 SUMMERS MFG SUPER            1129-000
                                                        WEEDER HARROW SN 0393
                                                                                   $230.00
                       PRIME TIME AUCTIONS              EXPENSES                             3620-000
                                                                             -$21,684.10
                       PRIME TIME AUCTIONS              BUYERS PREMIUM                       3610-000
                                                                             -$52,352.35
              {38}     PT                               SALE INTERNATIONAL OR ACE            1129-000
                                                        28' ROLLER HARROW
                                                                               $4,000.00
              {38}     PT                               BP INTERNATIONAL OR ACE 28'          1129-000
                                                        ROLLER HARROW
                                                                                   $200.00
              {38}     PT                               SALE JD 9 SHANK V PLOW PULL          1129-000
                                                        TYPE
                                                                               $4,100.00
              {38}     PT                               BP JD 9 SHANK V PLOW PULL            1129-000
                                                        TYPE
                                                                                   $205.00
              {38}     PT                               SALE MELROE 9 BOTTOM                 1129-000
                                                        PLOW
                                                                               $2,750.00
              {38}     PT                               BP MELROE 9 BOTTOM PLOW              1129-000
                                                                                   $137.50
              {38}     PT                               SALE 3 POINT HITCH PTO               1129-000
                                                        DRIVEN TILLER ATTACHMENT,
                                                        SPRINKLER HEADS, FUEL
                                                        TANK, AND VALVES
                                                                                   $500.00
              {38}     PT                               BP 3 POINT HITCH PTO DRIVEN          1129-000
                                                        TILLER ATTACHMENT,
                                                        SPRINKLER HEADS, FUEL
                                                        TANK, AND VALVES
                                                                                    $50.00
              {38}     PT                               SALE 2 DRAG HARROWS                  1129-000
                                                                                   $160.00
              {38}     PT                               BP 2 DRAG HARROWS                    1129-000
                                                                                    $16.00




                                                                                        Page Subtotals:             $0.00                $0.00


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000        Filed 08/11/21 Entered 08/11/21 10:21:18                                   Desc
                                                                        Page 39 of 52
                                                               Form 2                                                                            Exhibit 9
                                                                                                                                                 Page: 16
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                       Trustee Name:                      R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                               Bank Name:                         Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND              Account #:                         ******2000 Checking
                        BK                                             Blanket Bond (per case limit):     $51,601,059.00
Taxpayer ID #:          **-***8494                                     Separate Bond (if applicable):     N/A
For Period Ending:      08/04/2021
    1            2                     3                                       4                                5                    6                       7

  Trans.    Check or         Paid To / Received From       Description of Transaction         Uniform       Deposit            Disbursement        Account Balance
   Date      Ref. #                                                                          Tran. Code       $                      $

              {38}     PT                               SALE AERWAY PASTURE                  1129-000
                                                        AERATOR 3 POINT HITCH
                                                                               $6,500.00
              {38}     PT                               BP AERWAY PASTURE                    1129-000
                                                        AERATOR 3 POINT HITCH
                                                                                   $325.00
              {38}     PT                               SALE CHEMIGATOR / ROW                1129-000
                                                        MAKER W/ TANKS LG DISCS
                                                                               $1,400.00
              {38}     PT                               BP CHEMIGATOR / ROW MAKER            1129-000
                                                        W/ TANKS LG DISCS
                                                                                   $140.00
              {71}     PT                               SALE SHOP BUILT 40FT 3 PT            1229-000
                                                        HITCH BOOM SPRAYER
                                                                               $1,100.00
              {71}     PT                               BP SHOP BUILT 40FT 3 PT              1229-000
                                                        HITCH BOOM SPRAYER
                                                                                   $110.00
              {38}     PT                               SALE MISKIN 3 PT HITCH               1129-000
                                                                                   $800.00
              {38}     PT                               BP MISKIN 3 PT HITCH                 1129-000
                                                                                    $80.00
              {38}     PT                               SALE JD BOX SCRAPER SN               1129-000
                                                        0650
                                                                               $2,200.00
              {38}     PT                               BP JD BOX SCRAPER SN 0650            1129-000
                                                                                   $220.00
              {71}     PT                               SALE ROTO MIX 600-16 TRUCK           1229-000
                                                        BED SN 1331
                                                                               $1,000.00
              {71}     PT                               BP ROTO MIX 600-16 TRUCK             1229-000
                                                        BED SN 1331
                                                                                   $100.00
              {71}     PT                               SALE JD 3 POINT HITCH                1229-000
                                                        SPRING TOOTH DIGGER
                                                                                   $550.00
              {71}     PT                               BP JD 3 POINT HITCH SPRING           1229-000
                                                        TOOTH DIGGER
                                                                                    $55.00
              {71}     PT                               SALE 3 POINT HITCH 8 FT DISC         1229-000
                                                        HARROW SET
                                                                                   $750.00
              {71}     PT                               BP 3 POINT HITCH 8 FT DISC           1229-000
                                                        HARROW SET
                                                                                    $75.00
              {71}     PT                               SALE SINGLE HARROW                   1229-000
                                                                                   $400.00


                                                                                        Page Subtotals:             $0.00                $0.00


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000        Filed 08/11/21 Entered 08/11/21 10:21:18                                   Desc
                                                                        Page 40 of 52
                                                               Form 2                                                                            Exhibit 9
                                                                                                                                                 Page: 17
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                       Trustee Name:                      R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                               Bank Name:                         Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND              Account #:                         ******2000 Checking
                        BK                                             Blanket Bond (per case limit):     $51,601,059.00
Taxpayer ID #:          **-***8494                                     Separate Bond (if applicable):     N/A
For Period Ending:      08/04/2021
    1            2                     3                                       4                                5                    6                       7

  Trans.    Check or         Paid To / Received From       Description of Transaction         Uniform       Deposit            Disbursement        Account Balance
   Date      Ref. #                                                                          Tran. Code       $                      $

              {71}     PT                               BP SINGLE HARROW                     1229-000
                                                                                    $40.00
              {91}     PT                               SALE ROLLER HARROW WITH A            1229-000
                                                        INTERNATIONAL GRASS DRILL
                                                                               $3,400.00
              {91}     PT                               BP ROLLER HARROW WITH A              1229-000
                                                        INTERNATIONAL GRASS DRILL
                                                                                   $170.00
              {38}     PT                               SALE 2 CASE IH 6200 W/               1129-000
                                                        TANDEM HITCH SN 7277 SN
                                                        4580
                                                                               $2,750.00
              {38}     PT                               BP 2 CASE IH 6200 W/ TANDEM          1129-000
                                                        HITCH SN 7277 SN 4580
                                                                                   $137.50
              {38}     PT                               SALE CASE IH 620 GRAIN DRILL         1129-000
                                                        SN 3205
                                                                               $1,500.00
              {38}     PT                               BP CASE IH 620 GRAIN DRILL           1129-000
                                                        SN 3205
                                                                                   $150.00
              {38}     PT                               SALE JD 7300 12 ROW CORN             1129-000
                                                        PLANTER SN 0396
                                                                               $3,000.00
              {38}     PT                               BP JD 7300 12 ROW CORN               1129-000
                                                        PLANTER SN 0396
                                                                                   $150.00
              {38}     PT                               SALE INTERNATIONAL 6 ROW             1129-000
                                                        CORN PLANTER, 3 POINT HITCH
                                                                                   $275.00
              {38}     PT                               BP INTERNATIONAL 6 ROW               1129-000
                                                        CORN PLANTER, 3 POINT HITCH
                                                                                    $27.50
              {38}     PT                               SALE DAMMER DIKER                    1129-000
                                                                                   $250.00
              {38}     PT                               BP DAMMER DIKER                      1129-000
                                                                                    $25.00
              {38}     PT                               SALE 1993 AG ENGINEERING 5           1129-000
                                                        ROW DAMMER DIKER
                                                                               $1,700.00
              {38}     PT                               BP 1993 AG ENGINEERING 5             1129-000
                                                        ROW DAMMER DIKER
                                                                                   $170.00
              {38}     PT                               SALE DAMMER DIKER 6 ROW              1129-000
                                                                               $2,600.00
              {38}     PT                               BP DAMMER DIKER 6 ROW                1129-000
                                                                                   $130.00


                                                                                        Page Subtotals:             $0.00                $0.00


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000        Filed 08/11/21 Entered 08/11/21 10:21:18                                   Desc
                                                                        Page 41 of 52
                                                               Form 2                                                                            Exhibit 9
                                                                                                                                                 Page: 18
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                       Trustee Name:                      R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                               Bank Name:                         Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND              Account #:                         ******2000 Checking
                        BK                                             Blanket Bond (per case limit):     $51,601,059.00
Taxpayer ID #:          **-***8494                                     Separate Bond (if applicable):     N/A
For Period Ending:      08/04/2021
    1            2                     3                                       4                                5                    6                       7

  Trans.    Check or         Paid To / Received From       Description of Transaction         Uniform       Deposit            Disbursement        Account Balance
   Date      Ref. #                                                                          Tran. Code       $                      $

              {38}     PT                               SALE LELY L3000 WATER TANK           1129-000
                                                        ON TRLR SN 7085
                                                                               $1,100.00
              {38}     PT                               BP LELY L3000 WATER TANK             1129-000
                                                        ON TRLR SN 7085
                                                                                   $110.00
              {71}     PT                               SALE 2 FARMHAND SMALL                1229-000
                                                        BALE GRAPPLES
                                                                               $1,400.00
              {71}     PT                               BP 2 FARMHAND SMALL BALE             1229-000
                                                        GRAPPLES
                                                                                   $140.00
              {38}     PT                               SALE SHOP BUILT 8 ROW                1129-000
                                                        POTATO ROLLER
                                                                                   $275.00
              {38}     PT                               BP SHOP BUILT 8 ROW POTATO           1129-000
                                                        ROLLER
                                                                                    $27.50
              {38}     PT                               SALE 1984 SPUDNIK 900 - 84           1129-000
                                                        ELIMINATOR
                                                                                   $400.00
              {38}     PT                               BP 1984 SPUDNIK 900 - 84             1129-000
                                                        ELIMINATOR
                                                                                    $40.00
              {38}     PT                               SALE DOUBLE L ELIMINATOR             1129-000
                                                        807 SN 167
                                                                                   $600.00
              {38}     PT                               BP DOUBLE L ELIMINATOR 807           1129-000
                                                        SN 167
                                                                                    $60.00
              {38}     PT                               SALE SCHULTE DE-VINER                1129-000
                                                                                   $210.00
              {38}     PT                               BP SCHULTE DE-VINER                  1129-000
                                                                                    $21.00
              {38}     PT                               SALE ACE POTATO DE-VINER             1129-000
                                                                                   $325.00
              {38}     PT                               BP ACE POTATO DE-VINER               1129-000
                                                                                    $32.50
              {38}     PT                               SALE SPUDNIK CONVEYOR                1129-000
                                                                                   $350.00
              {38}     PT                               BP SPUDNIK CONVEYOR                  1129-000
                                                                                    $35.00
              {38}     PT                               SALE 1992 DOUBLE L 851 4             1129-000
                                                        ROW POTATO WINDROWER SN
                                                        347
                                                                                   $500.00



                                                                                        Page Subtotals:             $0.00                $0.00


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000        Filed 08/11/21 Entered 08/11/21 10:21:18                                   Desc
                                                                        Page 42 of 52
                                                               Form 2                                                                            Exhibit 9
                                                                                                                                                 Page: 19
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                       Trustee Name:                      R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                               Bank Name:                         Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND              Account #:                         ******2000 Checking
                        BK                                             Blanket Bond (per case limit):     $51,601,059.00
Taxpayer ID #:          **-***8494                                     Separate Bond (if applicable):     N/A
For Period Ending:      08/04/2021
    1            2                     3                                       4                                5                    6                       7

  Trans.    Check or         Paid To / Received From       Description of Transaction         Uniform       Deposit            Disbursement        Account Balance
   Date      Ref. #                                                                          Tran. Code       $                      $

              {38}     PT                               BP 1992 DOUBLE L 851 4 ROW           1129-000
                                                        POTATO WINDROWER SN 347
                                                                                    $50.00
              {38}     PT                               SALE 1991 DOUBLE L 851 4             1129-000
                                                        ROW POTATO WINDROWER SN
                                                        233
                                                                                   $400.00
              {38}     PT                               BP 1991 DOUBLE L 851 4 ROW           1129-000
                                                        POTATO WINDROWER SN 233
                                                                                    $40.00
              {38}     PT                               SALE LOGAN WC8D04 4 ROW              1129-000
                                                        POTATO WINDROWER
                                                                                   $300.00
              {38}     PT                               BP LOGAN WC8D04 4 ROW                1129-000
                                                        POTATO WINDROWER
                                                                                    $30.00
              {38}     PT                               SALE 1996 DOUBLE L 853 4             1129-000
                                                        ROW POTATO HARVESTER SN
                                                        416
                                                                                   $700.00
              {38}     PT                               BP 1996 DOUBLE L 853 4 ROW           1129-000
                                                        POTATO HARVESTER SN 416
                                                                                    $70.00
              {38}     PT                               SALE LOGAN POTATO                    1129-000
                                                        HARVESTER 2 ROW W/
                                                        BLOWER SN 8101
                                                                               $1,400.00
              {38}     PT                               BP LOGAN POTATO                      1129-000
                                                        HARVESTER 2 ROW W/
                                                        BLOWER SN 8101
                                                                                   $140.00
              {38}     PT                               SALE DOUBLE L 30" POTATO             1129-000
                                                        PILER
                                                                               $3,000.00
              {38}     PT                               BP DOUBLE L 30" POTATO               1129-000
                                                        PILER
                                                                                   $150.00
              {38}     PT                               SALE 1978 SPUDNIK P-78               1129-000
                                                        POTATO PILER
                                                                               $1,100.00
              {38}     PT                               BP 1978 SPUDNIK P-78 POTATO          1129-000
                                                        PILER
                                                                                   $110.00
              {38}     PT                               SALE SPUDNIK POTATO                  1129-000
                                                        SORTING TABLE
                                                                                   $300.00
              {38}     PT                               BP SPUDNIK POTATO SORTING            1129-000
                                                        TABLE
                                                                                    $30.00



                                                                                        Page Subtotals:             $0.00                $0.00


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000        Filed 08/11/21 Entered 08/11/21 10:21:18                                   Desc
                                                                        Page 43 of 52
                                                               Form 2                                                                            Exhibit 9
                                                                                                                                                 Page: 20
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                       Trustee Name:                      R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                               Bank Name:                         Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND              Account #:                         ******2000 Checking
                        BK                                             Blanket Bond (per case limit):     $51,601,059.00
Taxpayer ID #:          **-***8494                                     Separate Bond (if applicable):     N/A
For Period Ending:      08/04/2021
    1            2                     3                                       4                                5                    6                       7

  Trans.    Check or         Paid To / Received From       Description of Transaction         Uniform       Deposit            Disbursement        Account Balance
   Date      Ref. #                                                                          Tran. Code       $                      $

              {38}     PT                               SALE TRIANGLE INDUSTRIES             1129-000
                                                        GRAIN CLEANER 771 SN 0895
                                                                               $3,700.00
              {38}     PT                               BP TRIANGLE INDUSTRIES               1129-000
                                                        GRAIN CLEANER 771 SN 0895
                                                                                   $185.00
              {38}     PT                               SALE WESTFIELD GRAIN                 1129-000
                                                        AUGER SN 8442
                                                                                   $375.00
              {38}     PT                               BP WESTFIELD GRAIN AUGER             1129-000
                                                        SN 8442
                                                                                    $37.50
              {38}     PT                               SALE 1997 WESTFIELD                  1129-000
                                                        WR130/71 GRAIN AUGER SN
                                                        0316
                                                                               $5,400.00
              {38}     PT                               BP 1997 WESTFIELD WR130/71           1129-000
                                                        GRAIN AUGER SN 0316
                                                                                   $270.00
              {38}     PT                               SALE WESTFIELD GRAIN                 1129-000
                                                        AUGER WR100-31 SN 3422
                                                                               $1,100.00
              {38}     PT                               BP WESTFIELD GRAIN AUGER             1129-000
                                                        WR100-31 SN 3422
                                                                                   $110.00
              {38}     PT                               SALE 2009 WESTFIELD GRAIN            1129-000
                                                        DRILL SEED FILL AUGER
                                                                               $1,000.00
              {38}     PT                               BP 2009 WESTFIELD GRAIN              1129-000
                                                        DRILL SEED FILL AUGER
                                                                                   $100.00
              {28}     PT                               SALE 2003 ARTIC CAT SN 8587          1129-000
                                                                                   $900.00
              {28}     PT                               BP 2003 ARTIC CAT SN 8587            1129-000
                                                                                    $90.00
              {28}     PT                               SALE 1996 ARTIC CAT SN 6652          1129-000
                                                                                   $450.00
              {28}     PT                               BP 1996 ARTIC CAT SN 6652            1129-000
                                                                                    $45.00
              {92}     PT                               SALE ARTIC CAT EL TIGRE SN           1229-000
                                                        6376
                                                                                   $425.00
              {92}     PT                               BP ARTIC CAT EL TIGRE SN             1229-000
                                                        6376
                                                                                    $42.50
              {50}     PT                               SALE OF SCRAP METAL                  1129-000
                                                                                   $265.00


                                                                                        Page Subtotals:             $0.00                $0.00


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000         Filed 08/11/21 Entered 08/11/21 10:21:18                                        Desc
                                                                         Page 44 of 52
                                                               Form 2                                                                                  Exhibit 9
                                                                                                                                                       Page: 21
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                        Trustee Name:                       R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                                Bank Name:                          Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND               Account #:                          ******2000 Checking
                        BK                                              Blanket Bond (per case limit):      $51,601,059.00
Taxpayer ID #:          **-***8494                                      Separate Bond (if applicable):      N/A
For Period Ending:      08/04/2021
    1            2                      3                                       4                                 5                     6                          7

  Trans.    Check or         Paid To / Received From        Description of Transaction          Uniform       Deposit             Disbursement           Account Balance
   Date      Ref. #                                                                            Tran. Code       $                       $

              {50}     PT                               BP SCRAP METAL                         1129-000
                                                                                     $26.50
              {54}     PT                               SALE SPRINKLER HAND LINES,             1129-000
                                                        PIPE, FITTINGS
                                                                                    $275.00
              {54}     PT                               BP SPRINKLER HAND LINES,               1129-000
                                                        PIPE, FITTINGS
                                                                                     $27.50
              {72}     PT                               SALE MISC AUTO PARTS                   1229-000
                                                                                $5,355.00
              {72}     PT                               BP MISC AUTO PARTS                     1229-000
                                                                                    $535.50
              {71}     PT                               SALE MISC FARM EQUIP &                 1229-000
                                                        SUPPLIES
                                                                                    $385.00
              {71}     PT                               BP MISC FARM EQUIP &                   1229-000
                                                        SUPPLIES
                                                                                     $38.50
              {70}     PT                               SALE MISC TOOLS/SUPPLIES               1229-000
                                                                                    $405.00
              {70}     PT                               BP MISC TOOLS/SUPPLIES                 1229-000
                                                                                     $40.50
 03/16/18     {30}     PRIME TIME AUCTIONS              3/18 AUCTION PROCEEDS ON               1129-000               750.00                                       903,037.55
                                                        QUINCY UPRIGHT AIR
                                                        COMPRESSOR
 03/20/18     101      BANK OF COMMERCE                 PAYOFF SECURED LIEN THRU               4110-000                                 82,339.34                  820,698.21
                                                        3/9/18
 03/20/18     102      BRIAN'S TIRE FACTORY &           INV #1024779                           2420-000                                      238.81                820,459.40
                       AUTO REPAIR
 03/29/18     {71}     DANCE FARMS LLC                  RENTAL OF EQUIPMENT                    1229-000               850.00                                       821,309.40
 03/30/18              Rabobank, N.A.                   Bank and Technology Services           2600-000                                      677.53                820,631.87
                                                        Fees
 04/06/18     {3}      amanda lovell                    APRIL RENT                             1110-000               500.00                                       821,131.87
 04/06/18     103      BANK OF COMMERCE                 ADJUSTED PAYOFF SECURED                4110-000                                      893.04                820,238.83
                                                        LIEN THRU 3/9/18
 04/30/18              Rabobank, N.A.                   Bank and Technology Services           2600-000                                     1,140.78               819,098.05
                                                        Fees
 05/02/18     104      SERVICE & SPINNER                REIMBURSEMENT ADVERSARY                2700-000                                      350.00                818,748.05
                                                        FILING FEE 18-8020 HOPKINS V
                                                        ISOM, RALPH AND PAULA
 05/04/18              PRIME TIME AUCTIONS              AUCTION PROCEEDS                                          32,390.00                                        851,138.05
                       PRIME TIME AUCTIONS              BP APRIL AUCTION                       3610-000
                                                                               -$1,788.50
                       PRIME TIME AUCTIONS              INVOICE APRIL AUCTION                  3620-000
                                                                                    -$520.00
              {93}     PT                               SALE 71 CHEV MALIBU                    1229-000
                                                                                $4,800.00


                                                                                          Page Subtotals:      $34,490.00            $85,639.50


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                                ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000         Filed 08/11/21 Entered 08/11/21 10:21:18                                       Desc
                                                                         Page 45 of 52
                                                               Form 2                                                                                 Exhibit 9
                                                                                                                                                      Page: 22
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                        Trustee Name:                      R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                                Bank Name:                         Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND               Account #:                         ******2000 Checking
                        BK                                              Blanket Bond (per case limit):     $51,601,059.00
Taxpayer ID #:          **-***8494                                      Separate Bond (if applicable):     N/A
For Period Ending:      08/04/2021
    1            2                      3                                       4                                5                     6                          7

  Trans.    Check or         Paid To / Received From        Description of Transaction         Uniform       Deposit             Disbursement           Account Balance
   Date      Ref. #                                                                           Tran. Code       $                       $

              {93}     PT                               BP 71 CHEVY MALIBU                    1229-000
                                                                                    $240.00
              {94}     PT                               SALE 79 GMC GRAIN TK                  1229-000
                                                                                $1,050.00
              {94}     PT                               BP 79 GMC GRAIN TK                    1229-000
                                                                                    $105.00
              {28}     PT                               SALE 99 FORD F350 VIN 8063            1129-000
                                                                                $3,900.00
              {28}     PT                               BP 99 FORD F350 VIN 8063              1129-000
                                                                                    $195.00
              {95}     PT                               SALE 77 FORD F250 VIN 3174            1229-000
                                                                                $1,600.00
              {95}     PT                               BP 77 FORD F250 VIN 3174              1229-000
                                                                                    $160.00
              {96}     PT                               SALE 90 FARMBED TRLR                  1229-000
                                                                                $4,600.00
              {96}     PT                               BP 90 FARMBED TRLR                    1229-000
                                                                                    $230.00
              {97}     PT                               SALE 91 JD 310 D BACKHOE              1229-000
                                                                               $16,750.00
              {97}     PT                               BP 91 JD 130 D BACKHOE                1229-000
                                                                                    $837.50
              {38}     PT                               SALE OF RAKE SPRING TINES             1129-000
                                                                                    $210.00
              {38}     PT                               BP RAKE SPRING TINES                  1129-000
                                                                                     $21.00
 05/11/18     {3}      AMANDA LOVELL                    may RENT                              1110-000               500.00                                       851,638.05
 05/15/18     105      HONNEN EQUIPMENT CO              SALES PRICE OF $16750 LESS            4110-000                                 15,075.00                  836,563.05
                                                        10% SURCHARGE PER LIEN
                                                        PER NOS
 05/23/18     106      PRIME TIME AUCTIONS              FEES PER DKT682 ORDER                 3610-000                                 43,883.65                  792,679.40
                                                        5/22/18
 05/31/18              Rabobank, N.A.                   Bank and Technology Services          2600-000                                     1,315.01               791,364.39
                                                        Fees
 06/08/18     {3}      Amanda Lovell                    June 18 rent                          1110-000               500.00                                       791,864.39
 06/29/18              Rabobank, N.A.                   Bank and Technology Services          2600-000                                     1,100.75               790,763.64
                                                        Fees
 07/10/18     {3}      AMANDA LOVELL                    RENT                                  1110-000               500.00                                       791,263.64
 07/31/18              Rabobank, N.A.                   Bank and Technology Services          2600-000                                     1,213.67               790,049.97
                                                        Fees
 08/01/18     107      PRIME TIME AUCTIONS              FEES/EXP PER ORDER 4/27/18            3610-000                                     2,054.00               787,995.97
 08/21/18     {3}      AMANDA LOVELL                    AUG RENT                              1110-000               500.00                                       788,495.97
 08/31/18              Rabobank, N.A.                   Bank and Technology Services          2600-000                                     1,172.17               787,323.80
                                                        Fees
 09/26/18     {3}      AMANDA LOVELL                    sept RENT                             1110-000               500.00                                       787,823.80

                                                                                         Page Subtotals:         $2,500.00          $65,814.25


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
                     Case 15-40763-JDP                  Doc 1000           Filed 08/11/21 Entered 08/11/21 10:21:18                                        Desc
                                                                            Page 46 of 52
                                                                 Form 2                                                                                   Exhibit 9
                                                                                                                                                          Page: 23
                                                 Cash Receipts And Disbursements Record
Case No.:               15-40763                                           Trustee Name:                      R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                                   Bank Name:                         Mechanics Bank
                        I & S FARMS CONSOLIDATED WITH IND                  Account #:                         ******2000 Checking
                        BK                                                 Blanket Bond (per case limit):     $51,601,059.00
Taxpayer ID #:          **-***8494                                         Separate Bond (if applicable):     N/A
For Period Ending:      08/04/2021
    1            2                      3                                          4                                 5                       6                        7

  Trans.    Check or         Paid To / Received From          Description of Transaction          Uniform       Deposit                Disbursement         Account Balance
   Date      Ref. #                                                                              Tran. Code       $                          $

 09/28/18              Rabobank, N.A.                     Bank and Technology Services           2600-000                                        603.98               787,219.82
                                                          Fees
 10/23/18     {3}      AMANDA LOVELL                      OCT RENT                               1110-000                 500.00                                      787,719.82
 10/31/18              Rabobank, N.A.                     Bank and Technology Services           2600-000                                        711.82               787,008.00
                                                          Fees
 11/30/18     {3}      AMANDA LOVELL                      NOV RENT                               1110-000                 500.00                                      787,508.00
 01/16/19              ROBINSON AND ASSOCIATES            PER ORDER DATED 1/24/18                                    10,000.00                                        797,508.00
              {3}                                         rent rcvd by D                         1110-000
                                                                                       $500.00
              {98}                                        PMT RCVD BY D                          1229-000
                                                                                   $9,500.00
 02/12/19     {28}     ROBINSON AND ASSOCIATES            $ FR D'S UNAUTHORIZED SALE             1129-000                2,100.00                                     799,608.00
                                                          OF 93 CIRCLE J STOCK TRLR
 03/05/19    {103}     ISTC                               2017 ST REFUND                         1224-000                 200.00                                      799,808.00
 06/12/19    {108}     FARMS LLC                          SETTLEMENT FUNDS                       1229-000           300,000.00                                    1,099,808.00
 07/10/19              Transfer Debit to Metropolitan     Transition Debit to Metropolitan       9999-000                                 1,099,808.00                      0.00
                       Commercial Bank acct ******8981    Commercial Bank acct
                                                          3910058981

                                            COLUMN TOTALS                                                       1,252,597.55               1,252,597.55                    $0.00
                                                   Less: Bank Transfers/CDs                                                  0.00          1,099,808.00
                                            Subtotal                                                            1,252,597.55                152,789.55
                                                   Less: Payments to Debtors                                                                       0.00

                                            NET Receipts / Disbursements                                       $1,252,597.55               $152,789.55




{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                                     ! - transaction has not been cleared
                     Case 15-40763-JDP                  Doc 1000            Filed 08/11/21 Entered 08/11/21 10:21:18                                           Desc
                                                                             Page 47 of 52
                                                               Form 2                                                                                         Exhibit 9
                                                                                                                                                              Page: 24
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                            Trustee Name:                        R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                                    Bank Name:                           Metropolitan Commercial Bank
                        I & S FARMS CONSOLIDATED WITH IND                   Account #:                           ******8981 Checking Account
                        BK                                                  Blanket Bond (per case limit):       $51,601,059.00
Taxpayer ID #:          **-***8494                                          Separate Bond (if applicable):       N/A
For Period Ending:      08/04/2021
    1            2                      3                                            4                                 5                       6                          7

  Trans.    Check or         Paid To / Received From         Description of Transaction              Uniform       Deposit               Disbursement           Account Balance
   Date      Ref. #                                                                                 Tran. Code       $                         $

 07/10/19              Transfer Credit from Rabobank,    Transition Credit from Rabobank,           9999-000       1,099,808.00                                       1,099,808.00
                       N.A. acct ******2000              N.A. acct 5020892000
 08/23/19              PRIME TIME                        AUCTION PROCEEDS                                                  6,475.00                                   1,106,283.00
             {104}                                       sale of 91 west 48x8 trlr                  1229-000
                                                                                      $3,200.00
             {104}                                       bp 91 west 48x8 trlr                       1229-000
                                                                                         $160.00
             {105}                                       sale of 325 railroad ties                  1229-000
                                                                                      $3,275.00
             {105}                                       bp railroad ties                           1229-000
                                                                                         $327.50
                       PRIME TIME AUCTIONS               bp august 2019 auction                     3610-000
                                                                                         -$487.50
 10/11/19    1000      PRIME TIME AUCTIONS               FEES PER ORDER 10/7/19                     3610-000                                        879.00            1,105,404.00
 09/21/20    1001      INTERNAL REVENUE SERVICE          Interim Distribution payment -             4300-000                                  112,839.66                  992,564.34
                                                         Dividend paid at 100.00% of
                                                         $112,839.66; Claim # 10S; Filed:
                                                         $112,839.66
 09/21/20    1002      R. Sam Hopkins                    Combined trustee compensation &                                                       56,178.41                  936,385.93
                                                         expense dividend payments.
                       R. Sam Hopkins                    Claims Distribution - Wed, 08-12-          2200-000
                                                         2020
                                                                                      $1,515.07
                       R. Sam Hopkins                    Claims Distribution - Wed, 08-12-          2100-000
                                                         2020
                                                                                     $54,663.34
 09/21/20    1003      SPINNER, WOOD, AND SMITH          Combined payments for claim                                                          117,015.52                  819,370.41
                                                         number ,
                       SPINNER, WOOD, AND SMITH          Claims Distribution - Wed, 08-12-          3210-000
                                                         2020
                                                                                 $114,152.50
                       SPINNER, WOOD, AND SMITH          Claims Distribution - Wed, 08-12-          3220-000
                                                         2020
                                                                                      $2,863.02
 09/21/20    1004      JORDAN & COMPANY,                 Combined payments for claim                                                           10,231.40                  809,139.01
                       CHARTERED                         number ,
                       JORDAN & COMPANY,                 Claims Distribution - Wed, 08-12-          3410-000
                       CHARTERED                         2020
                                                                                     $10,031.60
                       JORDAN & COMPANY,                 Claims Distribution - Wed, 08-12-          3420-000
                       CHARTERED                         2020
                                                                                         $199.80
 09/21/20    1005      UNITED STATES TRUSTEE             Interim Distribution payment -             2950-000                                       2,624.01               806,515.00
                                                         Dividend paid at 100.00% of
                                                         $2,624.01; Claim # 41; Filed:
                                                         $2,624.01
 09/21/20    1006      BRENT ROBINSON                    Interim Distribution payment -                                                        72,504.41                  734,010.59
                                                         Dividend paid at 100.00% of
                                                         $72,504.41; Claim # ; Filed:
                                                         $72,504.41


                                                                                               Page Subtotals:   $1,106,283.00             $372,272.41


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                                       ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000           Filed 08/11/21 Entered 08/11/21 10:21:18                                      Desc
                                                                           Page 48 of 52
                                                               Form 2                                                                                  Exhibit 9
                                                                                                                                                       Page: 25
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                          Trustee Name:                      R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                                  Bank Name:                         Metropolitan Commercial Bank
                        I & S FARMS CONSOLIDATED WITH IND                 Account #:                         ******8981 Checking Account
                        BK                                                Blanket Bond (per case limit):     $51,601,059.00
Taxpayer ID #:          **-***8494                                        Separate Bond (if applicable):     N/A
For Period Ending:      08/04/2021
    1            2                     3                                          4                                5                    6                          7

  Trans.    Check or         Paid To / Received From          Description of Transaction       Uniform         Deposit            Disbursement           Account Balance
   Date      Ref. #                                                                           Tran. Code         $                      $

                       BRENT ROBINSON                   FEES                                   6220-000
                                                                                 $68,185.22
                       BRENT ROBINSON                   EXP                                    6220-000
                                                                                  $4,319.19
 09/21/20    1007      BRYAN SNARR CPA                  Interim Distribution payment -         6410-000                                     4,795.00               729,215.59
                                                        Dividend paid at 100.00% of
                                                        $4,795.00; Claim # ; Filed:
                                                        $12,752.85
 09/21/20    1008      VERNON L NELSON                  Interim Distribution payment -         6700-000                                     2,038.00               727,177.59
                                                        Dividend paid at 100.00% of
                                                        $2,038.00; Claim # ; Filed:
                                                        $2,038.00
 09/21/20    1009      JOAN ISOM                        Interim Distribution payment -         6950-000                                 31,807.00                  695,370.59
                                                        Dividend paid at 100.00% of
                                                        $31,807.00; Claim # 20A; Filed:
                                                        $31,807.00
 09/21/20    1010      INTERNAL REVENUE SERVICE         Interim Distribution payment -         5800-000                                 36,473.59                  658,897.00
                                                        Dividend paid at 100.00% of
                                                        $36,473.59; Claim # 10P; Filed:
                                                        $36,473.59
 09/21/20    1011      IDAHO STATE TAX                  Interim Distribution payment -         5800-000                                      367.08                658,529.92
                       COMMISSION BANKRUPTCY            Dividend paid at 100.00% of
                       DIVISION                         $367.08; Claim # 37P; Filed:
                                                        $367.08
 09/21/20    1012      ALLY FINANCIAL                   Interim Distribution payment -         7100-000                                       20.83                658,509.09
                                                        Dividend paid at 100.00% of
                                                        $20.83; Claim # 7; Filed: $20.83
 09/21/20    1013      R & L CUSTOM APPLICATION         Interim Distribution payment -         7100-000                                     9,695.00               648,814.09
                                                        Dividend paid at 100.00% of
                                                        $9,695.00; Claim # 8; Filed:
                                                        $9,695.00
 09/21/20    1014      ROCKNAKS HARDWARE                Interim Distribution payment -         7100-000                                     1,375.31               647,438.78
                                                        Dividend paid at 100.00% of
                                                        $1,375.31; Claim # 9; Filed:
                                                        $1,375.31
 09/21/20    1015      INTERNAL REVENUE SERVICE         Interim Distribution payment -         7100-000                                      125.77                647,313.01
                                                        Dividend paid at 100.00% of
                                                        $125.77; Claim # 10I; Filed:
                                                        $125.77
 09/21/20    1016      RESURGENT CAPITAL                Interim Distribution payment -         7100-000                                      119.02                647,193.99
                       SERVICES                         Dividend paid at 100.00% of
                                                        $119.02; Claim # 11; Filed:
                                                        $119.02
 09/21/20    1017      RESURGENT CAPITAL                Interim Distribution payment -         7100-000                                      229.32                646,964.67
                       SERVICES                         Dividend paid at 100.00% of
                                                        $229.32; Claim # 12; Filed:
                                                        $229.32
 09/21/20    1018      BEARING & INDUSTRIAL SALES       Interim Distribution payment -         7100-000                                     1,542.08               645,422.59
                                                        Dividend paid at 100.00% of
                                                        $1,542.08; Claim # 16; Filed:
                                                        $1,542.08
 09/21/20    1019      WIPFLI LLP ATTN: STEVE           Interim Distribution payment -         7100-000                                 12,906.60                  632,515.99
                       SEIDL                            Dividend paid at 100.00% of
                                                        $12,906.60; Claim # 17; Filed:
                                                        $12,906.60
 09/21/20    1020      AIRGAS                           Interim Distribution payment -         7100-000                                     4,933.77               627,582.22
                                                        Dividend paid at 100.00% of
                                                        $4,933.77; Claim # 18; Filed:
                                                        $4,933.77




                                                                                           Page Subtotals:             $0.00        $106,428.37


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                                ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000          Filed 08/11/21 Entered 08/11/21 10:21:18                                        Desc
                                                                          Page 49 of 52
                                                               Form 2                                                                                   Exhibit 9
                                                                                                                                                        Page: 26
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                         Trustee Name:                        R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                                 Bank Name:                           Metropolitan Commercial Bank
                        I & S FARMS CONSOLIDATED WITH IND                Account #:                           ******8981 Checking Account
                        BK                                               Blanket Bond (per case limit):       $51,601,059.00
Taxpayer ID #:          **-***8494                                       Separate Bond (if applicable):       N/A
For Period Ending:      08/04/2021
    1            2                      3                                        4                                  5                    6                          7

  Trans.    Check or         Paid To / Received From        Description of Transaction          Uniform         Deposit            Disbursement           Account Balance
   Date      Ref. #                                                                            Tran. Code         $                      $

 09/21/20    1021      JOAN ISOM                        Interim Distribution payment -          7100-000                                 79,693.00                  547,889.22
                                                        Dividend paid at 100.00% of
                                                        $79,693.00; Claim # 20U; Filed:
                                                        $79,693.00
 09/21/20    1022      BV LENDING, LLC C/O THEL W.      Interim Distribution payment -          7100-000                                155,235.62                  392,653.60
                       CASPER, ESQ.                     Dividend paid at 100.00% of
                                                        $155,235.62; Claim # 22; Filed:
                                                        $155,235.62
 09/21/20    1023      CIRCLE B CATTLE COMPANY,         Interim Distribution payment -          7100-000                                 31,187.35                  361,466.25
                       LLC                              Dividend paid at 100.00% of
                                                        $31,187.35; Claim # 23; Filed:
                                                        $31,187.35
 09/21/20    1024      WELLS FARGO FINANCIAL            Interim Distribution payment -          7100-000                                 44,771.12                  316,695.13
                       LEASING, INC.                    Dividend paid at 100.00% of
                                                        $44,771.12; Claim # 24; Filed:
                                                        $44,771.12
 09/21/20    1025      WELLS FARGO CARD                 Interim Distribution payment -          7100-000                                      953.88                315,741.25
                       SERVICES                         Dividend paid at 100.00% of
                                                        $953.88; Claim # 26; Filed:
                                                        $953.88
 09/21/20    1026      IDAHO SUPREME POTATOES           Interim Distribution payment -          7100-000                                 34,486.56                  281,254.69
                       INC                              Dividend paid at 100.00% of
                                                        $34,486.56; Claim # 32; Filed:
                                                        $34,486.56
 09/21/20    1027      STATE INSURANCE FUND             Interim Distribution payment -          7100-000                                 20,521.91                  260,732.78
                                                        Dividend paid at 100.00% of
                                                        $20,521.91; Claim # 39; Filed:
                                                        $20,521.91
 09/21/20    1028      QWEST CORP DBA                   Interim Distribution payment -          7100-000                                      228.56                260,504.22
                       CENTURYLINK                      Dividend paid at 100.00% of
                       COMMUNICATIONS                   $228.56; Claim # 42; Filed:
                                                        $228.56
 09/21/20    1029      RICHARD JAMES HAYS               Interim Distribution payment -          7100-000                                 19,940.00                  240,564.22
                                                        Dividend paid at 100.00% of
                                                        $19,940.00; Claim # 54; Filed:
                                                        $19,940.00
 09/21/20    1030      INTERNAL REVENUE SERVICE         Interim Distribution payment -          7300-000                                 15,783.14                  224,781.08
                                                        Dividend paid at 100.00% of
                                                        $15,783.14; Claim # 10Z; Filed:
                                                        $15,783.14
 09/21/20    1031      IDAHO STATE TAX                  Interim Distribution payment -          7300-000                                       88.25                224,692.83
                       COMMISSION BANKRUPTCY            Dividend paid at 100.00% of
                       DIVISION                         $88.25; Claim # 37Z; Filed: $88.25
 05/04/21    1032      R. Sam Hopkins                   Combined trustee compensation &                                                      8,846.71               215,846.12
                                                        expense dividend payments.
                       R. Sam Hopkins                   Claims Distribution - Tue, 05-04-       2200-000
                                                        2021
                                                                                     $182.90
                       R. Sam Hopkins                   Claims Distribution - Tue, 05-04-       2100-000
                                                        2021
                                                                                 $8,663.81
 05/04/21    1033      SPINNER, WOOD, AND SMITH         Combined dividend payments for                                                   20,764.25                  195,081.87
                                                        Claim #,
                       SPINNER, WOOD, AND SMITH         Claims Distribution - Tue, 05-04-       3210-000
                                                        2021
                                                                                $20,358.00
                       SPINNER, WOOD, AND SMITH         Claims Distribution - Tue, 05-04-       3220-000
                                                        2021
                                                                                     $406.25

                                                                                            Page Subtotals:             $0.00        $432,500.35


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                                 ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000          Filed 08/11/21 Entered 08/11/21 10:21:18                                         Desc
                                                                          Page 50 of 52
                                                               Form 2                                                                                    Exhibit 9
                                                                                                                                                         Page: 27
                                               Cash Receipts And Disbursements Record
Case No.:               15-40763                                         Trustee Name:                         R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                                 Bank Name:                            Metropolitan Commercial Bank
                        I & S FARMS CONSOLIDATED WITH IND                Account #:                            ******8981 Checking Account
                        BK                                               Blanket Bond (per case limit):        $51,601,059.00
Taxpayer ID #:          **-***8494                                       Separate Bond (if applicable):        N/A
For Period Ending:      08/04/2021
    1            2                     3                                         4                                   5                    6                          7

  Trans.    Check or         Paid To / Received From        Description of Transaction           Uniform         Deposit            Disbursement           Account Balance
   Date      Ref. #                                                                             Tran. Code         $                      $

 05/04/21    1034      INTERNAL REVENUE SERVICE         Final Distribution payment -             7400-000                                 40,151.16                  154,930.71
                                                        Dividend paid at 100.00% of
                                                        $40,151.16; Claim # 10SZ; Filed:
                                                        $40,151.16
 05/04/21    1035      FARMS, LLC ATTN: SHAWN D.        Combined dividend payments for                                                   102,462.40                      52,468.31
                       BOYLE                            Claim #POC1-1640899 , POC3-
                                                        1640889
                       FARMS, LLC ATTN: SHAWN D.        Claims Distribution - Tue, 05-04-        7400-000
                       BOYLE                            2021
                                                                                $92,862.84
                       FARMS, LLC ATTN: SHAWN D.        Claims Distribution - Tue, 05-04-        7400-000
                       BOYLE                            2021
                                                                                 $9,599.56
 05/04/21    1036      FARMS, LLC ATTN: SHAWN D.        Final Distribution payment -             7400-000                                      207.27                    52,261.04
                       BOYLE                            Dividend paid at 8.73% of
                                                        $2,375.33; Claim # 1; Filed:
                                                        $2,375.33
 05/04/21    1037      FARMS, LLC ATTN: SHAWN D.        Final Distribution payment -             7400-000                                     1,698.50                   50,562.54
                       BOYLE                            Dividend paid at 8.73% of
                                                        $19,465.76; Claim # 13; Filed:
                                                        $19,465.76
 05/04/21    1038      FARMS, LLC ATTN: SHAWN D.        Combined dividend payments for                                                    36,040.40                      14,522.14
                       BOYLE                            Claim #19, 21, 25, 27, 33
                       FARMS, LLC ATTN: SHAWN D.        Claims Distribution - Tue, 05-04-        7400-000
                       BOYLE                            2021
                                                                                 $1,291.38
                       FARMS, LLC ATTN: SHAWN D.        Claims Distribution - Tue, 05-04-        7400-000
                       BOYLE                            2021
                                                                                 $7,564.05
                       FARMS, LLC ATTN: SHAWN D.        Claims Distribution - Tue, 05-04-        7400-000
                       BOYLE                            2021
                                                                                     $469.24
                       FARMS, LLC ATTN: SHAWN D.        Claims Distribution - Tue, 05-04-        7400-000
                       BOYLE                            2021
                                                                                $16,106.57
                       FARMS, LLC ATTN: SHAWN D.        Claims Distribution - Tue, 05-04-        7400-000
                       BOYLE                            2021
                                                                                $10,609.16
 05/04/21    1039      FARMS, LLC ATTN: SHAWN D.        Final Distribution payment -             7400-000                                     9,000.04                    5,522.10
                       BOYLE                            Dividend paid at 8.73% of
                                                        $103,145.63; Claim # 29; Filed:
                                                        $103,145.63
 05/04/21    1040      FARMS, LLC C/O RYAN B            Combined dividend payments for                                                        5,522.10                        0.00
                       MEIKLE ESQ                       Claim #43, 44, 45, 46, 47, 48, 49,
                                                        50, 51
                       FARMS, LLC C/O RYAN B            Claims Distribution - Tue, 05-04-        7400-000
                       MEIKLE ESQ                       2021
                                                                                     $798.81
                       FARMS, LLC C/O RYAN B            Claims Distribution - Tue, 05-04-        7400-000
                       MEIKLE ESQ                       2021
                                                                                       $79.19
                       FARMS, LLC C/O RYAN B            Claims Distribution - Tue, 05-04-        7400-000
                       MEIKLE ESQ                       2021
                                                                                 $1,153.88

                                                                                             Page Subtotals:             $0.00        $195,081.87


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                                  ! - transaction has not been cleared
                     Case 15-40763-JDP                 Doc 1000           Filed 08/11/21 Entered 08/11/21 10:21:18                                       Desc
                                                                           Page 51 of 52
                                                                Form 2                                                                                  Exhibit 9
                                                                                                                                                        Page: 28
                                                Cash Receipts And Disbursements Record
Case No.:               15-40763                                          Trustee Name:                      R. Sam Hopkins (320130)
Case Name:              ISOM, RALPH DEAN                                  Bank Name:                         Metropolitan Commercial Bank
                        I & S FARMS CONSOLIDATED WITH IND                 Account #:                         ******8981 Checking Account
                        BK                                                Blanket Bond (per case limit):     $51,601,059.00
Taxpayer ID #:          **-***8494                                        Separate Bond (if applicable):     N/A
For Period Ending:      08/04/2021
    1            2                     3                                          4                                5                       6                        7

  Trans.    Check or         Paid To / Received From         Description of Transaction          Uniform       Deposit               Disbursement         Account Balance
   Date      Ref. #                                                                             Tran. Code       $                         $

                       FARMS, LLC C/O RYAN B             Claims Distribution - Tue, 05-04-      7400-000
                       MEIKLE ESQ                        2021
                                                                                      $351.28
                       FARMS, LLC C/O RYAN B             Claims Distribution - Tue, 05-04-      7400-000
                       MEIKLE ESQ                        2021
                                                                                      $118.64
                       FARMS, LLC C/O RYAN B             Claims Distribution - Tue, 05-04-      7400-000
                       MEIKLE ESQ                        2021
                                                                                      $454.03
                       FARMS, LLC C/O RYAN B             Claims Distribution - Tue, 05-04-      7400-000
                       MEIKLE ESQ                        2021
                                                                                      $648.32
                       FARMS, LLC C/O RYAN B             Claims Distribution - Tue, 05-04-      7400-000
                       MEIKLE ESQ                        2021
                                                                                      $322.77
                       FARMS, LLC C/O RYAN B             Claims Distribution - Tue, 05-04-      7400-000
                       MEIKLE ESQ                        2021
                                                                                  $1,595.18

                                           COLUMN TOTALS                                                       1,106,283.00              1,106,283.00                   $0.00
                                                  Less: Bank Transfers/CDs                                     1,099,808.00                      0.00
                                           Subtotal                                                                    6,475.00          1,106,283.00
                                                  Less: Payments to Debtors                                                                      0.00

                                           NET Receipts / Disbursements                                            $6,475.00            $1,106,283.00




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                 Case 15-40763-JDP                Doc 1000     Filed 08/11/21 Entered 08/11/21 10:21:18                        Desc
                                                                Page 52 of 52
                                                       Form 2                                                                 Exhibit 9
                                                                                                                              Page: 29
                                       Cash Receipts And Disbursements Record
Case No.:           15-40763                                   Trustee Name:                   R. Sam Hopkins (320130)
                    ISOM, RALPH DEAN
Case Name:                                                     Bank Name:                      Metropolitan Commercial Bank
                    I & S FARMS CONSOLIDATED WITH IND
                    BK                                         Account #:                      ******8981 Checking Account
Taxpayer ID #:      **-***8494                                 Blanket Bond (per case limit): $51,601,059.00
For Period Ending: 08/04/2021                                  Separate Bond (if applicable): N/A




                                                                                                   NET                   ACCOUNT
                                 TOTAL - ALL ACCOUNTS                       NET DEPOSITS      DISBURSEMENTS              BALANCES
                                 ******2000 Checking                            $1,252,597.55        $152,789.55                 $0.00

                                 ******8981 Checking Account                       $6,475.00            $1,106,283.00             $0.00

                                                                               $1,259,072.55           $1,259,072.55              $0.00




                 08/04/2021                                            /s/R. Sam Hopkins
                   Date                                                R. Sam Hopkins




UST Form 101-7-TDR (10 /1/2010)
